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 9
                                   UNITED STATES DISTRICT COURT
10
                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
11

12    MARIA ALBANO, TERRENCE BOYD,
      CLARINDA BYRD, TRAVIS CLEVINGER,                     CASE NO.
13    TAMMIE GREEN, MAYHUGH HORNE,
      MELISSA JARAMILLO, KEITH JOHNSON,                    CLASS ACTION
14
      DAVID KAPLAN, DANIEL KILGO,                          COMPLAINT
15    CURSILA LONGORIA, LUIS RAMOS,
      ADRIEN RODRIGUEZ, GILBERTO
16    ROMAGNOLO, BRENDA SHALEY,                            JURY TRIAL DEMANDED
      ROBERT SMITH, ROBERT TAYLOR,
17    individually and on behalf of all others similarly
18    situated,

19                   Plaintiffs,
       v.
20
      AMAZON.COM, INC., a Delaware corporation,
21    and AMAZON ADVERTISING, LLC, a Delaware
22    limited liability company

23                   Defendants.

24

25

26


     CLASS ACTION COMPLAINT                                      Cotchett, Pitre & McCarthy, LLP
     (Case No.          )                                        1809 7th Avenue, Suite 1610
                                                                 Seattle, WA 98101
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     VERIFIED COMPLAINT                                               ii                  Cotchett, Pitre & McCarthy, LLP
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 1            Plaintiffs Maria Albano, Terrence Boyd, Clarinda Byrd, Travis Clevinger, Tammie

 2   Green, Mayhugh Horne, Melissa Jaramillo, Keith Johnson, David Kaplan, Daniel Kilgo, Cursila

 3   Longoria, Luis Ramos, Adrien Rodriguez, Gilberto Romagnolo, Brenda Shaley, Robert Smith,

 4   and Robert Taylor (“Plaintiffs”), individually and on behalf of all others similarly situated, bring

 5   this action against Amazon, Inc. and Amazon Advertising, LLC (collectively “Defendants” or

 6   “Amazon”), seeking monetary, injunctive, and/or other equitable relief for the proposed Class

 7   and Subclasses, as defined below. Plaintiffs make the following allegations upon information and

 8   belief, the investigation of their counsel, and personal knowledge or facts that are a matter of
 9   public record.
10                                        I.     INTRODUCTION
11            1.      In the process of becoming the fifth most valuable company in the world, with an
12   astonishing market capitalization of $2.5 trillion, Amazon has abandoned long-standing
13   boundaries of privacy in its insatiable quest for detailed private information about humanity. Using
14   secret software embedded in mobile phones, Amazon covertly exfiltrated location and personal
15   information of millions of Americans. The data that Amazon harvested reveals highly sensitive
16   information about us all, such as where we live, where we work, where we worship, where and
17   how frequently we receive medical treatments, and everywhere we go throughout every day of our
18   lives.

19            2.      Amazon illegally collected this information without informing or seeking consent

20   from millions of Americans, including Plaintiffs and Class members. Plaintiffs and Class members

21   did not know and had no way to know that their data was continuously being exfiltrated,

22   manipulated, and monetized by Amazon.

23            3.      Amazon has effectively tapped hundreds of millions of smartphones through a

24   software development kit (“SDK”) it licenses to third party mobile applications. SDKs generally

25   provide application developers with the tools necessary to build their applications including APIs

26   and other automated functions that operate in the background. The Amazon Ads SDK (the “Ads

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 1    SDK”) operated in the background of these third-party developers’ applications and the developers

 2    themselves may not have had any idea the extent to which their aps had become a Trojan Horse

 3    for Amazon’s secret tracking mechanism.

 4           4.       Amazon has been highly effective at integrating the Ads SDK throughout the

 5    ecosystem of mobile applications including 19,964 Android applications and 12,640 iOS iPhone

 6    applications. Applications running on the Ads SDK have cumulatively been downloaded tens of

 7    millions of times.

 8           5.       Amazon’s Ads SDK was imbedded within the third-party application, so a user
 9    would think they were just getting a game or a useful source of information and would have no
10    idea they were also installing a method for Amazon to track their every move. The Ads SDK
11    allowed Amazon to collect and exfiltrate extensive location and personal data about Plaintiffs and
12    Class members.
13           6.       Amazon’s fortunes have ballooned from intercepting, exfiltrating and using this
14    trove of ill-gotten time and location data. It informs Amazon’s own targeted advertising,
15    personalized product recommendations, and strategic pricing optimization. The value of this
16    massive data trove is extraordinary since a single person’s data for online advertising is estimated
17    to be worth about $263 per year. 1
18           7.       Plaintiffs and Class members were never informed that the Ads SDK was collecting

19    and exfiltrating their location and other data to Amazon. They did not consent to the collection

20    and monetization of their personal, sensitive, and valuable data. Plaintiffs and Class members

21    were not even clearly or plainly advised that this information was being collected. Amazon made

22    no effort to directly obtain consumer consent themselves, knowing full-well that consumers

23    would roundly decline to use an app if they knew it would track when and where they went

24    throughout each day.

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26    1
       Lukas Stein, What your data is actually worth, Datapods, October 10, 2023,
      https://www.datapods.app/blogs/what-your-data-is-actually-worth (last visited February 4, 2025).
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 1         8.      Amazon never informed Plaintiffs or Class members about their secret data

 2   collection practices and Amazon never received consent to compile this data. Amazon similarly

 3   never informed Plaintiffs or Class members of the many ways their data would be manipulated,

 4   analyzed, packaged, and profited from.

 5         9.      Through the use of the Ads SDK and its secret tracking apparatus, Amazon violated

 6   federal and state laws and invaded the privacy of Plaintiffs and Class members.

 7         10.     Plaintiffs bring this action against Amazon on behalf of themselves and all those

 8   similarly situated for damages, injunctive relief, and restitution.
 9                                            II.    PARTIES
10         A.      Plaintiffs
11         11.     Plaintiff Daniel Kilgo is a citizen and resident of the State of Alabama, currently
12   residing in Arab. Plaintiff Kilgo has an Android phone has used the mobile application MX
13   Player, which incorporated Defendants’ covert SDK. Plaintiff Kilgo has had this application on
14   his phone for several years. On information and belief, Plaintiff’s location and personal data were
15   tracked through Defendants’ SDK and transmitted to Defendants’ database and used by
16   Defendants and/or monetized by Defendants without Plaintiff’s knowledge or consent.
17         12.     Plaintiff Robert Taylor is a citizen and resident of the State of Connecticut,
18   currently residing in New London. Plaintiff Taylor has an Android phone has used the mobile

19   applications Subway Surfers, Candy Crush Saga, Viber, and My Talking Tom, which

20   incorporated Defendants’ covert SDK. Plaintiff Taylor has had one or more of these applications

21   on his phone for over ten years. On information and belief, Plaintiff’s location and personal data

22   were tracked through Defendants’ SDK and transmitted to Defendants’ database and used by

23   Defendants and/or monetized by Defendants without Plaintiff’s knowledge or consent.

24         13.     Plaintiff Tammie Green is a citizen and resident of the State of Louisiana, currently

25   residing in Shreveport. Plaintiff Green has an iPhone and has used the mobile applications Free

26   Tone – Calling and Texting, Subway Surfers, Candy Crush Saga, and Picsart, which incorporated

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 1   Defendants’ covert SDK. Plaintiff Green has had one or more of these applications on her phone

 2   for several years. On information and belief, Plaintiff’s location and personal data were tracked

 3   through Defendants’ SDK and transmitted to Defendants’ database and used by Defendants

 4   and/or monetized by Defendants without Plaintiff’s knowledge or consent.

 5         14.     Plaintiff Gilberto Romagnolo is a citizen and resident of the State of California,

 6   currently residing in Los Angeles. Plaintiff Romagnolo has an Android phone and has used the

 7   mobile applications Subway Surfers, Candy Crush Saga, My Talking Tom, and Truecaller: ID

 8   & Spam Block, which incorporated Defendants’ covert SDK. Plaintiff Romagnolo has had one
 9   or more of these applications on his phone for over eight years. On information and belief,
10   Plaintiff’s location and personal data were tracked through Defendants’ SDK and transmitted to
11   Defendants’ database and used by Defendants and/or monetized by Defendants without
12   Plaintiff’s knowledge or consent.
13         15.     Plaintiff Mayhugh Horne is a citizen and resident of the State of California,
14   currently residing in Palm Springs. Plaintiff Horne has an iPhone and has used the mobile
15   applications Classic Words and WeatherBug, which incorporated Defendants’ covert SDK.
16   Plaintiff Horne has had one or more of these applications on his phone for over ten years. On
17   information and belief, Plaintiff’s location and personal data were tracked through Defendants’
18   SDK and transmitted to Defendants’ database and used by Defendants and/or monetized by

19   Defendants without Plaintiff’s knowledge or consent.

20         16.     Plaintiff Luis Ramos is a citizen and resident of the State of Florida, currently

21   residing in Orlando. Plaintiff Ramos has an iPhone and has used the mobile applications Candy

22   Crush Saga and QR reader for iPhone, which incorporated Defendants’ covert SDK. Plaintiff

23   Ramos has had one or more of these applications on his phone for over ten years. On information

24   and belief, Plaintiff’s location and personal data were tracked through Defendants’ SDK and

25   transmitted to Defendants’ database and used by Defendants and/or monetized by Defendants

26   without Plaintiff’s knowledge or consent.

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 1         17.     Plaintiff Terrence Boyd is a citizen and resident of the State of Illinois, currently

 2   residing in Fairview Heights. Plaintiff Boyd has an Android phone and has used the mobile

 3   applications Candy Crush Saga and Subway Surfers, which incorporated Defendants’ covert

 4   SDK. Plaintiff Boyd has had one or more of these applications on his phone for over five years.

 5   On information and belief, Plaintiff’s location and personal data were tracked through

 6   Defendants’ SDK and transmitted to Defendants’ database and used by Defendants and/or

 7   monetized by Defendants without Plaintiff’s knowledge or consent.

 8         18.     Plaintiff David Kaplan is a citizen and resident of the State of Illinois, currently
 9   residing in Hawthorn Woods. Plaintiff Kaplan has an iPhone and has used the mobile
10   applications WeatherBug, QR reader for iPhone, and Candy Crush Saga, which incorporated
11   Defendants’ covert SDK. Plaintiff Kaplan has had one or more of these applications on his phone
12   for several years. On information and belief, Plaintiff’s location and personal data were tracked
13   through Defendants’ SDK and transmitted to Defendants’ database and used by Defendants
14   and/or monetized by Defendants without Plaintiff’s knowledge or consent.
15         19.     Plaintiff Keith Johnson is a citizen and resident of the State of Illinois, currently
16   residing in Chicago. Plaintiff Johnson has an iPhone and has used the mobile applications Snap
17   & translate translator, Free Tone – Calling & Texting, WeatherBug, and QR reader for iPhone,
18   which incorporated Defendants’ covert SDK. Plaintiff Johnson has had one or more of these

19   applications on his phone for several years. On information and belief, Plaintiff’s location and

20   personal data were tracked through Defendants’ SDK and transmitted to Defendants’ database

21   and used by Defendants and/or monetized by Defendants without Plaintiff’s knowledge or

22   consent.

23         20.     Plaintiff Maria Albano is a citizen and resident of the State of Massachusetts,

24   currently residing in Springfield. Plaintiff Albano has an iPhone and has used the mobile

25   applications Subway Surfers, Candy Crush Saga, and QR reader for iPhone, which incorporated

26   Defendants’ covert SDK. Plaintiff Albano has had one or more of these applications on her phone

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 1   for several years. On information and belief, Plaintiff’s location and personal data were tracked

 2   through Defendants’ SDK and transmitted to Defendants’ database and used by Defendants

 3   and/or monetized by Defendants without Plaintiff’s knowledge or consent.

 4         21.     Plaintiff Clarinda Byrd is a citizen and resident of the State of Michigan, currently

 5   residing in Oak Park. Plaintiff Byrd has an Android phone and has used the mobile applications

 6   WeatherBug, Subway Surfers, Candy Crush Saga, and Briefing (Flipboard), which incorporated

 7   Defendants’ covert SDK. Plaintiff Byrd has had one or more of these applications on her phone

 8   for several years. On information and belief, Plaintiff’s location and personal data were tracked
 9   through Defendants’ SDK and transmitted to Defendants’ database and used by Defendants
10   and/or monetized by Defendants without Plaintiff’s knowledge or consent.
11         22.     Plaintiff Adrien Rodriguez is a citizen and resident of the State of New York,
12   currently residing in New York. Plaintiff Rodriguez has both an iPhone and an Android phone
13   and has used the mobile applications QR reader for iPhone, Viber, Truecaller: ID & Spam Block,
14   and Picsart, which incorporated Defendants’ covert SDK. Plaintiff Rodriguez has had one or
15   more of these applications on her phone for at least two years. On information and belief,
16   Plaintiff’s location and personal data were tracked through Defendants’ SDK and transmitted to
17   Defendants’ database and used by Defendants and/or monetized by Defendants without
18   Plaintiff’s knowledge or consent.

19         23.     Plaintiff Robert Smith is a citizen and resident of the State of Ohio, currently

20   residing in Delaware. Plaintiff Smith has an iPhone and has used the mobile applications QR

21   reader for iPhone, What’s the difference: Spot it, and WeatherBug, which incorporated

22   Defendants’ covert SDK. Plaintiff Smith has had one or more of these applications on his phone

23   for several years. On information and belief, Plaintiff’s location and personal data were tracked

24   through Defendants’ SDK and transmitted to Defendants’ database and used by Defendants

25   and/or monetized by Defendants without Plaintiff’s knowledge or consent.

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 1         24.     Plaintiff Brenda Shaley is a citizen and resident of the State of Pennsylvania,

 2   currently residing in New Castle. Plaintiff Shaley has an iPhone and has used the mobile

 3   applications WeatherBug, Candy Crush Saga, Picsart, and QR reader for iPhone, which

 4   incorporated Defendants’ covert SDK. Plaintiff Shaley has had one or more of these applications

 5   on her phone for three to five years. On information and belief, Plaintiff’s location and personal

 6   data were tracked through Defendants’ SDK and transmitted to Defendants’ database and used

 7   by Defendants and/or monetized by Defendants without Plaintiff’s knowledge or consent.

 8         25.     Plaintiff Cursila Longoria is a citizen and resident of the State of Texas, currently
 9   residing in Dallas. Plaintiff Longoria has both an iPhone and an Android phone and has used the
10   mobile applications Free Tone – Calling and Texting, Grocery list with sync, Letter Soup,
11   WeatherBug, Candy Crush Saga, and Truecaller: ID & Spam Block, which incorporated
12   Defendants’ covert SDK. Plaintiff Longoria has had one or more of these applications on her
13   phone for at least eight years. On information and belief, Plaintiff’s location and personal data
14   were tracked through Defendants’ SDK and transmitted to Defendants’ database and used by
15   Defendants and/or monetized by Defendants without Plaintiff’s knowledge or consent.
16         26.     Plaintiff Melissa Jaramillo is a citizen and resident of the State of Virginia,
17   currently residing in Gainesville. Plaintiff Jaramillo has both an iPhone and an Android phone
18   and has used the mobile applications WeatherBug, QR reader for iPhone, and Candy Crush Saga,

19   which incorporated Defendants’ covert SDK. Plaintiff Jaramillo has had one or more of these

20   applications on her phone for at least five years. On information and belief, Plaintiff’s location

21   and personal data were tracked through Defendants’ SDK and transmitted to Defendants’

22   database and used by Defendants and/or monetized by Defendants without Plaintiff’s knowledge

23   or consent.

24         27.     Travis Clevinger is a citizen and resident of the State of Washington, currently

25   residing in Liberty Lake. Plaintiff Clevinger has an Android phone and has used the mobile

26   applications Candy Crush Saga and Hill Climb Racing, which incorporated Defendants’ covert

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 1    SDK. Plaintiff Clevinger has had one or more of these applications on his phone for over ten

 2    years. On information and belief, Plaintiff’s location and personal data were tracked through

 3    Defendants’ SDK and transmitted to Defendants’ database and used by Defendants and/or

 4    monetized by Defendants without Plaintiff’s knowledge or consent.

 5           B.       Defendant Amazon

 6           28.      Defendant Amazon.com, Inc. is a corporation organized and existing under the

 7    laws of Delaware with its principal place of business located at 410 Terry Avenue North, Seattle,

 8    Washington 98109.
 9           29.      Defendant Amazon Advertising, LLC is a limited liability company organized and
10    existing under the laws of Delaware with its principal place of business located at 410 Terry
11    Avenue North, Seattle, Washington 98109. Throughout this complaint, “Amazon” refers to both
12    Amazon.com, Inc. and Amazon Advertising, LLC.
13                                      III.   FACTUAL ALLEGATIONS
14           A.       Amazon Exfiltrated Massive Amounts of User Data
15           30.      Amazon has collected the data of millions of Americans to create highly detailed
16    behavior and movement profiles of these Americans, including Plaintiffs.
17           31.      Amazon amassed this data without consumers’ knowledge by surreptitiously
18    integrating software into consumer mobile applications, allowing Amazon to exfiltrate this data

19    directly from consumers’ phones. Amazon monetized this data at least through informing their

20    own targeted advertising, personalized product recommendations, and strategic pricing

21    optimization. The value of this data is extraordinary as one person’s data for online advertising

22    is estimated to be worth about $263 per year. 2

23           32.      On information and belief, Defendants developed the Amazon Ads SDK to be

24    integrated into mobile phone applications in 2013. The Ads SDK was designed to collect the

25

26    2
       Lukas Stein, What your data is actually worth, Datapods, October 10, 2023,
      https://www.datapods.app/blogs/what-your-data-is-actually-worth (last visited February 4, 2025).
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 1   location, movement, and other data from a person’s phone. Generally, SDKs provide application

 2   developers with the tools necessary to build their applications including application

 3   programming interfaces (“APIs”) and other automated functions that operate in the background.

 4   As such, the Ads SDK was outwardly meant to facilitate the delivery of Amazon’s ads to users

 5   through third-party mobile phone applications. However, the secret purpose of Ads SDK was to

 6   continuously extract granular time and location data from consumers’ smartphones.

 7        33.      On information and belief, the Amazon Ads SDK has been integrated into 12,640

 8   iOS apps in the iPhone App Store and 19,964 Android Apps in the Play Store. The Amazon Ads
 9   SDK has been integrated into some of the most popular and frequently downloaded mobile
10   applications ever developed.
11        34.      On information and belief, the Amazon Ads SDK has been integrated into at least
12   the following iPhone applications:
13              a. Free Tone – Calling and Texting
14              b. Stick Hero
15              c. What’s the difference spot it
16              d. Snap & translate translator
17              e. Grocery list with sync
18              f. Classic Words

19              g. Letter Soup

20              h. PixWords

21              i. WeatherBug – Weather Forecast

22              j. QR reader for iPhone

23        35.      On information and belief, the Amazon Ads SDK has been integrated into at least

24   the following Android applications:

25              a. Subway Surfers

26              b. Candy Crush Saga

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 1               c. Briefing (Flipboard)

 2               d. MX Player

 3               e. Viber

 4               f. My Talking Tom

 5               g. Truecaller: ID & Spam Block

 6               h. Picsart

 7               i. Hill Climb Racing

 8               j. Ludo King
 9         36.        Just these twenty applications (of the more than 30,000 mobile applications with
10   the Ads SDK) have been downloaded hundreds of millions of times by tens of millions of
11   Americans.
12         37.        Amazon has incentivized the adoption of the Ads SDK through purchasing
13   advertising space on these mobile applications. Amazon’s Ads SDK allows mobile developers
14   to monetize their applications through Amazon’s purchase of banner ads, interstitial ads, and
15   video ads. On information and belief, Amazon has paid application developers millions of
16   dollars, through advertising purchases, to integrate the Ads SDK that covertly siphons sensitive
17   user data into their applications.
18         38.        Once the Ads SDK is integrated into third-party applications, Amazon gains access

19   to de-anonymized sensitive data of these application users, without Amazon having any pre-

20   existing relationship with those consumers, without Amazon explicitly disclosing its data

21   collection practices, and without Amazon having obtained consent for its invasive location

22   tracking. Amazon has covertly tracked Plaintiffs and Class members to their detriment and to

23   enrich itself.

24          B.        Amazon Exfiltrates And Profits From De-Anonymized Data

25         39.        Amazon’s Ads SDK extracts and exfiltrates consumer data that is de-anonymized,

26   or can easily be de-anonymized, as this data is collected in coordination with sensitive

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 1    identifiable information such as unique device IDs. Amazon can integrate this sensitive

 2    information with personally identifiable information (“PII”) connected with a device ID to create

 3    individualized and detailed consumer profiles that include detailed time and location

 4    information.

 5           40.        Mobile Advertising IDs (“MAID”) are unique phone identifiers that are used by

 6    advertisers to aid in personalized advertising to consumers. AdID is the MAID for all Android

 7    devices, a 32-digit individualized string, and IDFA functions similarly for every IOS device. As

 8    such, MAIDs act as a unique marker or signature for consumers across their mobile activities.
 9           41.        Within applications from an individual developer, Identifiers for Vendors (“IDFV”)
10    similarly function to track user activity within IOS applications, which allows for cross-
11    promotion among their various apps. These and other identifiers provide developers, marketers,
12    and data brokers with more accurate attribution for user actions.
13           42.        Moreover, geolocation data is sensitive information that in itself reveals the user’s
14    identity. Timestamped geolocation data reveals where a person lives, where they work, where
15    and when they pray, and where and when they go to the doctor. This information is not only
16    immensely sensitive, but it also easily identifies a person because human movement is so highly
17    unique as even a coarse spatial and temporal data set is enough to “uniquely identify 95% of []
18    individuals.” 3

19           43.        Amazon admits that “Amazon Ads harness[] billions of unique, proprietary signals

20    to help you reach relevant audiences on Amazon and beyond, even when ad identifiers are not

21    present.” 4 Thus, Defendants promise that they are able identify consumers and their habits even

22    in the absence of ad IDs.

23           44.        Amazon’s unique “proprietary signals” permit the creation of comprehensive

24    consumer profiles by combining in-person and online consumer action. Defendants promise that

25
      3
        Yves-Alexandre de Montjoye, et al, Unique in the Crowd: The privacy bounds of human mobility, Sci Rep 3,
26    1376 (2013), https://www.nature.com/articles/srep01376 (last visited February 5, 2025).
      4
        See, https://advertising.amazon.com/insights-and-planning/audiences (last visited February 5, 2025).
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 1    they can craft “tailored messages that drive action” because they have “billions of proprietary

 2    signals informed by online and offline touchpoints.” 5 Amazon has recognized the immense value

 3    of this ill-gotten consumer data for their advertising business, which has grown to generate $52.7

 4    billion in revenue in 2024, third largest in the world. 6

 5            C.      Amazon Paid Developers to Integrate the Ads SDK Into Their Apps

 6            45.     Amazon purchases advertising space on mobile applications to promote its various

 7    products. On information and belief, the only way to push these banner and interstitial ads

 8    through a mobile application is through the use of Amazon’s Ads SDK. Amazon’s ad spend on
 9    mobile applications exceeds tens of millions of dollars. To access these millions in ad revenue,
10    third party applications are required to integrate Amazon’s Ads SDK into their application.
11            46.     Amazon provided licensing rights for the Ads SDK integration along with
12    provisions for the sale of advertising space to Amazon. To the extent Amazon’s agreements with
13    app developers may have permitted Amazon to exfiltrate user data, third party application
14    developers may or may not have known the Ads SDK was covertly exfiltrating their users’ data.
15    Plaintiffs and Class members were not privy to the agreements between app developers and
16    Amazon, in any event, and did not assent to such agreements. Plaintiffs and Class members did
17    not give permission for their data to be used other than by the app in question and had no way to
18    know and did not authorize Amazon or the relevant app to exfiltrate, collect, and monetized their

19    data.

20            47.     When a user enables location tracking for an app to support the function of that

21    app, the user is only granting permission to the mobile app itself, not any underlying software

22    that has a purpose distinct from the functions of the app itself. At no point does Amazon inform

23

24

25    5
       See, https://advertising.amazon.com/lp/messages-that-matter (last visited February 5, 2025).
      6
       Julia Faria, Advertising revenue of major ad-selling companies worldwide in 2024, Statista, January 29, 2025,
26    https://www.statista.com/statistics/1202672/digital-ad-revenue-ad-selling-companies-worldwide/ (last visited
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 1   consumers that its Ads SDK is collecting their sensitive geolocation data, nor does it prompt

 2   consumers to grant Amazon permission to access or collect any data whatsoever.

 3         D.      Defendants’ Lacked Privacy Disclosures

 4         48.     Amazon had varying levels of control over privacy disclosures and consent

 5   language that application developers presented to consumers.

 6         49.     Neither Amazon nor the mobile applications informed consumers that Amazon

 7   was collecting time and location data through the Ads SDK. Amazon and mobile applications

 8   similarly did not inform consumers that Amazon would aggregate, manipulate, exfiltrate and
 9   monetize this data.
10         50.     Amazon did not provide consumers with any sort of notice of their data and privacy
11   practices with respect to information harvested by the Ads SDK, nor did the mobile apps notify
12   consumers about Amazon’s practices on Amazon’s behalf. Similarly, neither Amazon nor the
13   mobile apps notified consumers of the ways in which their data would be used, nor did consumers
14   agree to have their data used for Amazon’s own products or services.
15         51.     While third-party mobile applications request and/or receive user permission to use
16   their location and other data for in-app features, Amazon never provided Plaintiffs and the Class
17   with such information. Once the Ads SDK was integrated into these applications, Amazon began
18   to collect geolocation and other sensitive data far beyond what was needed by the app or the Ads

19   SDK to function as intended.

20         52.     Even if a consumer investigated Amazon outside of their app, navigated to their

21   website, and read their privacy disclosures, a consumer would still not be aware of the extent

22   their data was being collected, exfiltrated and monitored, and/or what Amazon did with their

23   sensitive data once it had been collected.

24         53.     Amazon’s Ads SDK covertly operated in the background, so absent notification by

25   Amazon or the relevant mobile application, users would be reasonably ignorant of the Ads SDK’s

26   existence or function.

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 1         54.     App users would similarly be unaware that Amazon was collecting data from their

 2   smartphones through the covert Ads SDK and the unique personal identifiers. Amazon never

 3   informed or notified app users that they were collecting their sensitive data through the Ads SDK

 4   and the mobile applications. And they never informed or notified app users that they would use

 5   the data they collected to enrich themselves.

 6         55.     On information and belief, a consumer would not know that any given app has the

 7   Amazon Ads SDK embedded. The entire data collection process takes place surreptitiously

 8   without the consumer’s knowledge or consent.
 9         E.      Damages & Harm
10         56.     As described more fully above, the data that Amazon extracted, manipulated, and
11   monetized may be used to identify consumers’ sensitive location and other data. The collection
12   and monetization of this data is an unwarranted and unauthorized intrusion into the most private
13   areas of a consumer’s life and has caused, or is likely to cause, substantial injury to consumers
14   and their privacy interests.
15         57.     Each Plaintiff’s cell phone contains one or more mobile applications that have
16   embedded Amazon’s Ads SDK.
17         58.     On information and belief, the Ads SDK harvested several types of data from each
18   Plaintiff’s phone without their knowledge or consent, and exfiltrated this data to Amazon.

19         59.     Each Plaintiff was entirely unaware that Amazon’s Ads SDK was covertly installed

20   on his or her phone. Each Plaintiff was similarly unaware that the Ads SDK was secretly

21   collecting her or his location and other data and exfiltrating it to Amazon.

22         60.     None of the Plaintiffs consented to Amazon’s conduct and they do not have any

23   relationship with Amazon concerning the collection of private information from their mobile

24   devices.

25         61.     Amazon’s surreptitious and routine collection of precise location and other data

26   reveals when and where someone goes to receive medical care, reproductive healthcare, where

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 1    they go to worship, where and when they receive mental healthcare, whether they are at a shelter

 2    for domestic violence survivors, or if they are in addiction recovery. Such hyper-sensitive data

 3    can reveal someone’s religious affiliation, their sexual orientation, their medical conditions, and

 4    whether they are part of an at-risk population.

 5           62.      Not only is Plaintiffs’ and Class members’ data incredibly personal, but it has

 6    tangible value. Amazon’s conduct has caused Plaintiffs and Class members to lose control over

 7    this valuable data. Amazon has been wrongfully enriched from Plaintiffs’ ill-gotten data to the

 8    tune of $263 per person per year, or some portion of Amazon’s $52.7 billion annual advertising
 9    revenue. 7
10           63.      Plaintiffs and Class members have a reasonable expectation of privacy at various

11    points throughout their lives. Plaintiffs and Class members reasonably expect that their every

12    movement and location will not be collected, stored, analyzed and monetized without express

13    consent or authorization. By covertly harvesting, exfiltrating, manipulating, and monetizing their

14    personal information, Amazon has invaded Plaintiffs and Class members’ privacy rights.

15           64.      The Ads SDK has allowed Amazon to secretly create a detailed log of Plaintiffs’

16    and Class members’ precise and private movement patterns, along with a dossier of their likes,

17    interests, habits, and activities, all without consent, permission or even simple notice.

18                                     IV.    JURISDICTION AND VENUE

19           65.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness

20    Act of 2005, 28 U.S.C. § 1332(d), because at least one Class member is of diverse citizenship

21    from a Defendant, there are more than 100 class members nationwide, and the aggregate amount

22    in controversy exceeds $5,000,000. This Court also has jurisdiction pursuant to 28 U.S.C. § 1331

23    and 28 U.S.C. § 1367.

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      7
       Julia Faria, Advertising revenue of major ad-selling companies worldwide in 2024, Statista, January 29, 2025,
26    https://www.statista.com/statistics/1202672/digital-ad-revenue-ad-selling-companies-worldwide/ (last visited
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 1         66.     This court has personal jurisdiction over Amazon.com, Inc. because Amazon has

 2   its principal headquarters in Seattle, Washington, does business in Washington and in this

 3   Judicial District, directly or through agents, and has sufficient minimum contacts with

 4   Washington and this Judicial District such that it has intentionally availed itself of the laws of

 5   the United States and Washington.

 6         67.     This court has personal jurisdiction over Amazon Ads, LLC because Amazon has

 7   its principal headquarters in Seattle, Washington, does business in Washington and in this

 8   Judicial District, directly or through agents, and has sufficient minimum contacts with
 9   Washington and this Judicial District such that it has intentionally availed itself of the laws of
10   the United States and Washington.
11         68.     Venue is proper under 28 U.S.C. § 1391(a) through (d) because Amazon’s
12   headquarters and principal place of business are located in this District, Amazon resides in this
13   District, and substantial parts of the events or omissions giving rise to the claims occurred in or
14   emanated from this District, including, without limitation, decisions made by Amazon’s
15   governance and management personnel.
16                              V.    CLASS ACTION ALLEGATIONS
17         69.     Pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3), Plaintiffs bring this action on
18   behalf of a proposed Class (the “Nationwide Class”) and “State Subclasses” defined as follows:

19         Nationwide Class: All persons in the United States whose data was collected by
           Defendants through the Ads SDK (the “Class”).
20         State Subclasses
21         Alabama Subclass: All members of the Class who reside in the State of Alabama.
22         California Subclass: All members of the Class who reside in the State of California.
23         Connecticut Subclass: All members of the Class who reside in the State of Connecticut.
24         Florida Subclass: All members of the Class who reside in the State of Florida.
25         Illinois Subclass: All members of the Class who reside in the State of Illinois.
26         Louisiana Subclass: All members of the Class who reside in the State of Louisiana.
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 1         Massachusetts Subclass: All members of the Class who reside in the State of

 2         Massachusetts.

 3         Michigan Subclass: All members of the Class who reside in the State of Michigan.

 4         New York Subclass: All members of the Class who reside in the State of New York.

 5         Ohio Subclass: All members of the Class who reside in the State of Ohio.

 6         Pennsylvania Subclass: All members of the Class who reside in the State of

 7         Pennsylvania.

 8         Texas Subclass: All members of the Class who reside in the State of Texas.
 9         Virginia Subclass: All members of the Class who reside in the State of Virginia.
10         Washington Subclass: All members of the Class who reside in the State of Washington.
11         70.     Excluded from the Class are Defendants, their agents, affiliates, parents,
12   subsidiaries, any entity in which Defendants have a controlling interest, any of Defendants’
13   officers or directors, any successors, all persons who make a timely election to be excluded from
14   the Class, and any judge who adjudicates this case, including their staff and immediate family.
15         71.     Plaintiffs reserve the right to amend the class definition and/or subclass definitions.
16         72.     Certification of Plaintiffs’ claims for classwide treatment is appropriate because
17   Plaintiffs can prove the elements of their claims on a classwide basis using the same evidence as
18   would be used to prove those elements in individual actions alleging the same claims.

19         73.     Numerosity and Ascertainability: members of the Class are so numerous that

20   joinder is impracticable. There are, at a minimum, millions of members of the proposed Class

21   and, at minimum, tens of thousands of members of each State Subclass.

22         74.     Commonality and Predominance: This action involves common questions of law

23   and fact which predominate over any question solely affecting individual Class members. These

24   common questions include:

25      a. Whether Defendants collected Plaintiffs’ and Class members’ location and other data;

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 1      b. Whether Plaintiffs and Class members were made aware or consented to the collection of

 2         their data;

 3      c. Whether Defendants were unjustly enriched to the detriment of Plaintiffs and Class

 4         members;

 5      d. Whether Defendants’ conduct constitutes common law violations of privacy;

 6      e. Whether Defendants’ conduct constitutes violations of the Computer Fraud and Abuse

 7         Act;

 8      f. Whether Defendants’ conduct constitutes violations of the Stored Communications Act;
 9      g. Whether Defendants’ conduct constitutes violations of the Federal Wiretap Act and/or
10         Electronic Communications Privacy Act;
11      h. Whether and to what extent Plaintiff and Class members have been damaged by
12         Defendants’ conduct; and
13      i. The nature and scope of appropriate injunctive relief.
14         75.     These common questions of law and fact predominate over questions that affect
15   only individual Class members.
16         76.     Typicality: Plaintiffs’ claims are typical of the other Class members’ claims
17   because all Class members were comparably injured through Defendants’ substantially uniform
18   misconduct, as described above. Plaintiffs are advancing the same claims and legal theories on

19   behalf of themselves and all other members of the Class that they represent, and there are no

20   defenses that are unique to the Plaintiffs. The claims of Plaintiffs and Class members arise from

21   the same operative facts and are based on the same legal theories.

22         77.     Adequacy: Plaintiffs will fairly and adequately represent and protect the interests

23   of the Class, have no interests incompatible with the interests of the Class, and have retained

24   counsel competent and experienced in class action litigation.

25         78.     Superiority: Class treatment is superior to other options for resolution of the

26   controversy because the relief sought for each Class member is small, such that, absent

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 1   representative litigation, it would be infeasible for Class members to redress the wrongs done to

 2   them.

 3           79.   Defendants have acted on grounds applicable to the Class, thereby making

 4   appropriate final injunctive and declaratory relief concerning the Class as a whole.

 5                          VI.   STATUTE OF LIMITATIONS TOLLING

 6           80.   All applicable statutes of limitations have been tolled by Amazon’s knowing and

 7   active concealment of the facts alleged herein. The causes of action alleged did not accrue until

 8   Plaintiffs and Class members discovered that Amazon was secretly exfiltrating, manipulating,
 9   and monetizing their location and other data. Plaintiffs and Class members could not have
10   reasonably discovered Amazon’s secret practices.
11           81.   Plaintiffs and Class members had no realistic ability to discern that Amazon was
12   collecting, exfiltrating and monetizing their geolocation and other data until—at the earliest—
13   January of 2025, when reports first began to surface concerning Amazon’s collection and
14   monetization of geolocation data harvested through Amazon’s Ads SDK.
15           82.   Defendants remain under a continuing duty to disclose to Plaintiffs and Class
16   members their data harvesting practices and the use of this data in their targeted advertising,
17   strategic pricing optimization, and personalized product recommendations. As such, all
18   applicable statutes of limitations have been tolled.

19                               VII. CAUSES OF ACTION
                                       COUNT ONE
20
                        VIOLATION OF THE FEDERAL WIRETAP ACT,
21                                18 U.S.C. §§ 2510, et seq.
22                  (ON BEHALF PLAINTIFFS AND THE NATIONWIDE CLASS)

23           83.   Plaintiffs incorporate by reference paragraphs 1-82 as if fully set forth herein.

24           84.   The Federal Wiretap Act (“FWA”), as amended by the Electronic Communications

25   Privacy Act of 1986 (“ECPA”), prohibits the intentional interception, use, or disclosure of any

26   wire, oral, or electronic communication.

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 1         85.     In relevant part, the FWA prohibits any person from intentionally intercepting,

 2   endeavoring to intercept, or procuring “any other person to intercept or endeavor to intercept,

 3   any wire, oral, or electronic communication.” 18 U.S.C. § 2511(1)(a). The FWA also makes it

 4   unlawful for any person to intentionally disclose, or endeavor to disclose, to any other person or

 5   to intentionally use, or endeavor to use, the “contents of any wire, oral, or electronic

 6   communication, knowing or having reason to know that” the communication was obtained in

 7   violation of the FWA. 18 U.S.C. § 2511(1)(c) & (d).

 8         86.     The FWA provides a private right of action to any person whose wire, oral, or
 9   electronic communication is intercepted, used, or disclosed. 18 U.S.C. § 2520(a). The FWA
10   defines “intercept” as “the aural or other acquisition of the contents of any wire, electronic, or
11   oral communication through the use of any electronic, mechanical, or other device.” 18 U.S.C. §
12   2510(4).
13         87.     The FWA defines “electronic communication” as “any transfer of signs, signals, .
14   . . data, or intelligence of any nature transmitted in whole or in part by a wire, radio,
15   electromagnetic, photoelectronic or photo optical system that affects interstate or foreign
16   commerce.” 18 U.S.C. § 2510(12).
17         88.     The FWA defines “electronic, mechanical, or other device” as “any device or
18   apparatus which can be used to intercept a wire, oral, or electronic communication.” 18 U.S.C.

19   § 2510(5).

20         89.     The FWA defines “contents,” with respect to any covered communication, to

21   include “any information concerning the substance, purport, or meaning of that

22   communication[.]” 18 U.S.C. § 2510(8).

23         90.     The FWA defines “person” to include “any individual, partnership, association,

24   joint stock company, trust, or corporation[.]” 18 U.S.C. § 2510(6).

25         91.     Defendants, corporations, are each a person as defined by 18 U.S.C. § 2510(6).

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 1         92.     As alleged herein, the Defendants have intercepted, in real time and as they were

 2   transmitted, the contents of electronic communications.

 3         93.     The data and transmissions within, to, and from Plaintiff’s and Class members’

 4   phones constitute “electronic communications,” as defined by 18 U.S.C. § 2510(12), as they are

 5   transfers of signals, data, and intelligence transmitted by electromagnetic, photoelectronic or

 6   photo optical systems that affect interstate commerce.

 7         94.     Defendants intercepted these transmissions via the Amazon Ads SDK.

 8         95.     As detailed herein, the electronic communications are tied to individuals and are
 9   not anonymized because, on information and belief, Defendants’ Ads SDK collects app users’
10   mobile device identifiers and other information that app developers provide to Defendants.
11         96.     Plaintiffs and Class members have a reasonable expectation of privacy within their
12   phones. Further, there is a reasonable expectation that the activities a person conducts with their
13   phones, i.e., app usage and data related thereto, are private.
14         97.     Common understanding of how smartphones work creates a reasonable
15   expectation that Defendants would not intercept and divert the electronic communications
16   described above.
17         98.     In further violation of the FWA, Defendants have intentionally used or endeavored
18   to use the contents of the communications described above knowing or having reason to know

19   that the information was obtained through interception in violation of 18 U.S.C. §2511(1)(a). 18

20   U.S.C. §2511(1)(d).

21         99.     Specifically, Defendants have used the contents of the communications described

22   above to: (1) inform their immensely profitable targeted advertising business; (2) more

23   specifically personalize product recommendations; and (3) enhance strategic pricing

24   optimization, for their own financial and commercial benefit, obtaining substantial profit.

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 1        100.      As a result, Plaintiffs and Class members have suffered harm and injury due to the

 2   interception, disclosure, and/or use of communications containing their private and Personal

 3   Information.

 4        101.      Pursuant to 18 U.S.C. § 2520, Plaintiffs and Class members have been damaged

 5   by the interception, disclosure, and/or use of their communications in violation of the Wiretap

 6   Act and are entitled to: (1) appropriate equitable or declaratory relief; (2) damages, in an amount

 7   to be determined at trial, assessed as the greater of (a) the sum of the actual damages suffered by

 8   Plaintiff and the Class and any profits made by Defendants as a result of the violation or (b)
 9   statutory damages for each Class member of whichever is the greater of $100 per day per
10   violation or $10,000; and (3) reasonable attorneys’ fees and other litigation costs reasonably
11   incurred.
12        102.      Plaintiffs and Class members seek compensatory, injunctive, and equitable relief
13   in an amount to be determined at trial, including an award of reasonable attorneys’ fees and costs
14   and punitive or exemplary damages for Defendants’ willful violations.
15                                       COUNT TWO
                      VIOLATION OF THE STORED COMMUNICATIONS ACT,
16
                                    18 U.S.C. §§ 2701, et seq.
17                  (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS)
18
          103.      Plaintiffs incorporate by reference paragraphs 1-82 as if fully set forth herein.
19       104.       The Stored Communications Act (“SCA”) incorporates the terms and definitions
20   of 18 U.S.C. § 2510, the ECPA. 18 U.S.C. § 2711.
21       105.       The ECPA, 18 U.S.C §§ 2510, et seq. broadly defines an “electronic
22   communication” as “any transfer of signs, signals, writing, images, sounds, data, or intelligence
23   of any nature transmitted in whole or in part by a wire, radio, electromagnetic, photoelectronic
24   or photoopitcal system that affects interstate or foreign commerce…” 18 U.S.C. § 2510(12).
25

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 1       106.      Pursuant to the ECPA and the SCA, “electronic storage” means any “temporary,

 2   intermediate storage of a wire or electronic communication incidental to the electronic

 3   transmission thereof.” 18 U.S.C. § 2510(17)(A).

 4       107.      The SCA mandates, among other things, that it is unlawful for a person to obtain

 5   access to stored communications on another’s computer system without authorization. 18 U.S.C.

 6   § 2701.

 7       108.      As detailed herein, Defendants have unlawfully accessed, collected, captured,

 8   transmitted, compiled, stored, analyzed, and monetized Plaintiffs’ and Class members’ highly
 9   sensitive personal and location data without authorization, consent, or even mere notice.
10       109.      Defendants have programmed their Ads SDK to exfiltrate the location and other
11   information of all users of any third-party mobile application that integrated Defendants’ Ads
12   SDK. Defendants have violated 18 U.S.C. § 2701 because they intentionally accessed and
13   obtained private communications and data stored in a user’s phone and/or relevant centralized
14   server without authorization or in excess of authorization.
15       110.      Defendants have willfully and intentionally violated § 2701, and Plaintiffs and
16   Class members have suffered actual harm. Pursuant to 18 U.S.C. § 2707, Plaintiffs, on behalf of
17   themselves and the Class, seek an order enjoining Defendants’ conduct and disgorging
18   Defendants of their ill-gotten data as well as any algorithms informed by this ill-gotten data,

19   actual statutory, and punitive damages, and reasonable attorneys’ fees.

20                                  COUNT THREE
                 VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT
21
                                 18 U.S.C. §§ 1030, et seq.
22               (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS)
23       111.      Plaintiffs incorporate by reference paragraphs 1-82 as if fully set forth herein.
24       112.      The Computer Fraud and Abuse Act (“CFAA”), enacted in 1986 as part of the
25   ECPA, prohibits the intentional accessing, without authorization or in excess of authorization, of
26   a computer under certain circumstances. 18 U.S.C. § 1030(a).
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 1       113.       The Act reflects Congress’s judgment that users have a legitimate interest in the

 2   confidentiality and privacy of information within their computers.

 3       114.       The CFAA specifically provides that it is unlawful to “intentionally access a

 4   computer      without   authorization    or    exceed[]     authorized     access,   and     thereby

 5   obtain[]…information from any protected computer.” 18 U.S.C. § 1030(a)(2)(c).

 6       115.       The CFAA also specifically provides that it is unlawful to “knowingly and with

 7   intent to defraud, access[] a protected computer without authorization or exceed[ing] authorized

 8   access” and thereby “further[] the intended fraud and obtain[] anything of value….” 18 U.S.C. §
 9   1030(a)(4).
10       116.       Plaintiffs and Defendants, as corporations or legal entities, are “persons” within
11   the meaning of the CFAA. 18 U.S.C. § 1030(e)(12).
12       117.       A “computer” is defined as “an electronic, magnetic, optical, electrochemical, or
13   other high speed data processing device performing logical, arithmetic, or storage functions, and
14   includes any data storage facility or communications facility directly related to or operating in
15   conjunction with such device.” 18 U.S.C. § 1030(e)(10).
16       118.       “Exceeds authorized access” is defined as “to access a computer with authorization
17   and to use such access to obtain or alter information in the computer that the accesser is not
18   entitled so to obtain.” 18 U.S.C. § 1030(e)(6).

19       119.       A “protected computer” is defined as “a computer . . . which is used in or affecting

20   interstate or foreign commerce or communication…, [or that] has moved in or otherwise affects

21   interstate or foreign commerce.” 18 U.S.C. § 1030(e)(2)(B).

22       120.       Plaintiffs’ and Class members’ smartphones constitute a “computer” within the

23   meaning of the CFAA. 18 U.S.C. § 1030(e)(1).

24       121.       The smartphones of Plaintiffs and Class members are used in and affect interstate

25   and foreign commerce and constitute “protected computers” within the meaning of the CFAA.

26   18 U.S.C. § 1030(e)(2)(B).

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 1       122.       Defendants intentionally accessed the protected computers in Plaintiffs and Class

 2   members’ possession via Defendants’ Ads SDK and other software without Plaintiffs’ or Class

 3   members’ authorization, or in a manner that exceeded Plaintiffs’ and Class members’

 4   authorization, and obtained information therefrom in violation of the CFAA. 18 U.S.C. §

 5   1030(a)(2)(C).

 6       123.       As alleged herein, Defendants’ conduct constituted a knowing intent to defraud

 7   Plaintiffs and Class members of their valuable personal data and profit thereby. 18 U.S.C.

 8   §1030(a)(4).
 9       124.       Defendants’ use of MAIDs, IDFAs, IDFVs and its SDK constitutes access to
10   Plaintiffs’ and Class members’ smartphones.
11       125.       The value of the information Defendants obtained from the protected computers in
12   Plaintiffs’ and Class members’ possession exceeded $5,000 in a one-year period, as evidenced
13   by Defendants’ billions of dollars of profits from the use of this information. 18 U.S.C. §
14   1030(a)(4).
15       126.       Plaintiffs and Class members have suffered harm and injury due to Defendants’
16   unauthorized access to their smartphones.
17       127.       A civil action for violation of the CFAA is proper if the conduct involves “loss to
18   1 or more persons during any 1-year period … aggregating at least $5,000 in value.” Because the

19   loss to Plaintiffs and Class members during any one-year period within the relevant timeframe,

20   including the loss of their privacy interest in and control over their personal data, exceeded

21   $5,000 in the aggregate, Plaintiffs and the Class are entitled to bring this civil action and are

22   entitled to economic damages, compensatory damages, injunctive, equitable, and all available

23   statutory relief, as well as their reasonable attorney’s fees and costs and other relief as permitted

24   by the CFAA. 18 U.S.C. § 1030(g)

25

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                                  COUNT FOUR
 1
            VIOLATION OF THE WASHINGTON CONSUMER PROTECTION ACT
 2                             RCW § 19.86, et seq.
 3                    (ON BEHALF OF THE NATIONWIDE CLASS)

 4       128.        Plaintiffs, individually, on behalf of the Nationwide Class incorporate by reference

 5   the allegations contained in Paragraphs 1-82 as if fully set forth herein.

 6       129.        The Washington Consumer Protection Act (“Washington CPA”) declares that

 7   unfair methods of competition and unfair or deceptive acts or practices in the conduct of any

 8   trade or commerce are unlawful. Wash. Rev. Code § 19.86.020.
 9       130.        Defendants are each a “person” as defined by Wash. Rev. Code § 19.86.010(1),
10   which includes corporations, trusts, unincorporated associations and partnerships.
11       131.        Defendants engage in “trade” or “commerce” as defined by Wash. Rev. Code §
12   19.86.010(2), which includes the sale of assets or services, and any commerce directly or
13   indirectly affecting the people of the state of Washington. Defendants have engaged in unfair
14   practices by:
15      a. Intercepting, collecting, using, and monetizing Plaintiff’s and Class members’ data
16         without obtaining their consent;
17      b. Omitting, suppressing, and concealing the material fact that Defendants were intercepting,
18         collecting, and using Plaintiff’s and Class members’ data for commercial benefit;

19      c. Omitting, suppressing, and concealing material facts regarding the functionality of

20         Defendants’ Ads SDK and associated applications with respect to the privacy of

21         consumers in their home, in hotels, at their doctor’s office, and going throughout their day;

22      d. Misrepresenting the purpose of Defendants’ Ads SDK and associated applications and that

23         it would protect the privacy of Plaintiff’s and the Class members’ data, including that it

24         would not intercept, collect, use, or monetize such data without consumers’ express

25         consent; and

26

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 1      e. Failing to comply with common law and/or statutory duties pertaining to the privacy of

 2         Plaintiff’s and Class members’ data.

 3       132.       Defendants acted intentionally, knowingly, and maliciously to violate the Act, and

 4   recklessly disregarded Plaintiff’s and Class members’ rights and harmed the public interest,

 5   because Defendants intentionally intercepted, collected, used, and monetized Plaintiff’s and

 6   Class members’ data without obtaining their consent.

 7       133.       Defendants’ acts affected the public interest because Amazon is headquartered in

 8   Washington State and the public has an interest in the corporations that are headquartered in this
 9   case to not engage in nationwide deceptive practices that emanate from Washington State.
10   Additionally, consumers in Washington State are affected by Amazon’s deceptive and/or unfair
11   practices.
12       134.       The fact that Defendants intercepted, collected, used, and monetized Plaintiff’s and
13   Class members’ data was material to Plaintiffs and Class members. This is a fact that reasonable
14   consumers would consider important when choosing to purchase, use or download an
15   application.
16       135.       Plaintiffs and Class members were deceived and/or could reasonably be expected
17   to be deceived by Defendants’ material misrepresentations and omissions regarding the
18   functionality of Defendants’ Ads SDK and associated applications, the security and privacy of

19   their data, and their privacy to their detriment.

20       136.       Plaintiffs and Class members could not have reasonably avoided Defendants’

21   practices as described herein because Defendants concealed their practices.

22       137.       Plaintiffs and Class members have derived no benefit from Defendants’

23   surreptitious collection and exploitation of their private information, and there are no

24   countervailing benefits to them or to competition resulting from Defendants’ unauthorized

25   tracking, use and monetization of consumer data.

26

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 1       138.        Plaintiffs and Class members and their property interests have been substantially

 2   injured by Defendants’ practices described herein because their rights to privacy have been

 3   violated, and because substantial numbers of them. As such, Defendants' deceptive and unfair

 4   acts and practices affect the public interest as they have had the capacity to injure and have

 5   injured other persons.

 6       139.        As a direct and proximate result of Defendants’ unfair practices, Plaintiffs and

 7   Class members have suffered and will continue to suffer injury, losses, and damages, but not

 8   limited to: loss of privacy; damage to and diminution of the value of their personal information;
 9   and the likelihood of future misuse of their data.
10                                     COUNT FIVE
                    VIOLATIONS OFSTATE COMMON LAW RIGHT TO PRIVACY
11
                              (ON BEHALF PLAINTIFFS AND THE
12                          MEMBERS OF EACH STATE SUBCLASS)

13           140.    Plaintiffs incorporate by reference paragraphs 1-82 as if fully set forth herein.
14           141.    State Common law prohibits Defendants from intentional intrusion into the
15   personal matters of Plaintiffs and State Subclass members, including their location and private
16   data.
17           142.    Plaintiffs and State Subclass members hold, and at all relevant times held, a legally
18   protected privacy interest in their PII, location, and other personal data and are entitled to the

19   protection of private property, matters, and information therein from intentional intrusions and

20   unauthorized access.

21           143.    As Plaintiffs and State Subclass members used and carried their phones throughout

22   their days in their homes, in hotels, at work, at the doctor’s office, when they worshipped, or

23   when they were receiving mental or reproductive health care, they unknowingly created troves

24   of highly sensitive data mapping of their respective personal lives which Defendants collected,

25   captured, transmitted, accessed, compiled, stored, analyzed, and monetized—all without their

26   knowledge or informed consent.

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 1        144.     The private information of Plaintiffs and State Subclass members consists of PII,

 2   location, and other personal data that were never intended to be exfiltrated.

 3        145.     Plaintiffs and State Subclass members had a legitimate and reasonable expectation

 4   of privacy regarding their PII and other personal data and were accordingly entitled to the

 5   protection of this information against exfiltration or unauthorized disclosure.

 6        146.     Defendants intentionally invaded Plaintiffs’ and State Subclass members’ privacy

 7   interests by deliberately designing devices and programs that surreptitiously obtain, improperly

 8   gain knowledge of, review, retain, package, and monetize their geolocation and other data.
 9        147.     Defendants’ unauthorized acquisition and collection of Plaintiffs’ and Class
10   members’ geolocation and other personal data is highly offensive to a reasonable person. The
11   continued nonconsensual surveillance of an individual in their private capacity, as Defendants
12   have done and continue to do, represents a fundamental violation of personal privacy, freedom,
13   and autonomy. It is not simply an intentional intrusion but a profound and egregious infringement
14   upon the most personal and sacred aspects of one’s life. Plaintiffs have unknowingly been
15   subjected to constant observation while they go about their days, which destabilizes the very
16   essence of personal liberty.
17        148.     Defendants’ conduct exploited Plaintiffs’ phone in order to record and transmit
18   Plaintiffs’ highly sensitive and personally identifiable data and behavior.

19        149.     Defendants’ willful and intentional use of Plaintiffs’ and State Subclass members’

20   location and other personal data constitutes an intentional interference with Plaintiffs’ and the

21   State Subclass members’ interest in solitude or seclusion, either as to their person or as to their

22   private affairs or concerns of a kind that would be highly offensive to a reasonable person.

23        150.     Defendants intentionally and willfully acquired Plaintiffs’ private, sensitive and de-

24   anonymized data. Defendants had notice and knew that their practices would cause injury to

25   Plaintiffs and State Subclass members.

26

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 1        151.     Defendants’ conduct constitutes and, at all relevant times constituted, serious and

 2   highly offensive invasions of privacy, as Defendants either did not disclose at all, or failed to

 3   make an effective disclosure, that they would record, collect, capture, take and make use of

 4   Plaintiffs’ and State Subclass members’ location and other personal data.

 5        152.     Defendants profited from Plaintiffs’ and State Subclass members’ data without

 6   compensating them. Plaintiffs and State Subclass members did not receive any compensation in

 7   return for the improper use of their personal data. Defendants deprived Plaintiffs and State

 8   Subclass members of the right to control how their personal information is collected, used, or
 9   disseminated and by whom.
10        153.     Plaintiffs, on behalf of themselves and State Subclass members, seek compensatory
11   damages for Defendants’ invasion of privacy, which includes the value of the privacy interest
12   invaded by Defendants, loss of time, money, and opportunity costs, plus prejudgment interest,
13   and costs.
14        154.     Defendants’ wrongful conduct will continue to cause great and irreparable injury
15   to Plaintiffs and State Subclass members since their Private Information is still maintained by
16   Defendants.
17        155.     Plaintiffs and State Subclass members have no adequate remedy at law for the
18   injuries relating to Defendants’ continued possession of their PII and other personal data. A

19   judgment for monetary damages will not undo Defendants’ use of Plaintiffs’ and State Subclass

20   members' ill-gotten data and subsequently trained algorithms.

21        156.     Plaintiffs, on behalf of themselves and State Subclass members, further seek

22   injunctive relief to enjoin Defendants from further intruding into the privacy and confidentiality

23   of Plaintiffs’ and State Subclass members’ PII and other data, disgorgement of this ill-gotten data

24   and any subsequently trained or informed algorithms, and to adhere to its common law,

25   contractual, statutory, and regulatory duties.

26

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                                        COUNT SIX
 1
                         ALABAMA DECEPTIVE TRADE PRACTICE ACT
 2                                ALA. CODE §§ 8-19-1, et seq.
 3                         (ON BEHALF OF THE ALABAMA SUBCLASS)

 4        157.     The Alabama Plaintiff identified above (“Plaintiff,” for purposes of this Count),

 5   individually and on behalf of the Alabama Subclass repeat and reallege Paragraphs 1-82, as if

 6   fully alleged herein.

 7        158.     Plaintiff and the Alabama Subclass members are each a “consumer” as defined in

 8   Ala. Code § 8-19-3.
 9        159.     Defendants are each a “person” as defined by Ala. Code § 8-19-3.
10        160.     Defendants are each engaged in “trade or commerce” affecting the people of
11   Alabama by advertising, offering for sale, selling, or distributing goods and services in the State
12   of Alabama. See Ala. Code § 8-19-3.
13        161.     Defendants engaged in unfair, unconscionable, unlawful, and/or deceptive acts and
14   practices in conducting trade and commerce in violation of Ala. Code § 8-19-3.
15        162.     Defendants engaged in unfair, unconscionable, unlawful, and/or deceptive acts and
16   practices in conducting trade and commerce in violation of Ala. Code § 8-19-5, including:
17      a. Intercepting, collecting, using, and selling Plaintiff’s and Alabama Subclass members’
18         geolocation and other data without obtaining their consent;

19      b. Omitting, suppressing, and concealing the material fact that Defendants were intercepting,

20         collecting, using, and monetizing Plaintiff’s and Alabama Subclass members’ data, for

21         Defendants’ own financial and commercial benefit;

22      c. Omitting, suppressing, and concealing material facts regarding the functionality of

23         Defendants’ SDK and the associated mobile applications with respect to the privacy of

24         consumers; and

25      d. Failing to comply with common law and/or statutory duties pertaining to the privacy of

26         Plaintiff’s and Alabama Subclass members’ data, including location data.

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 1        163.     These misrepresentations, omissions, and/or concealments constitute violations of

 2   Ala. Code § 8-19-5 (5), (7), (9) and (27).

 3        164.     Defendants acted intentionally, knowingly, and maliciously to violate the Act, and

 4   recklessly disregarded Plaintiff’s and Alabama Subclass members’ rights, because Defendants

 5   intentionally intercepted, collected, used, and monetized Plaintiff’s and Subclass members’ data

 6   without obtaining their consent.

 7        165.     The fact that Defendants intercepted, collected, used, and monetized Plaintiff’s and

 8   Alabama Subclass members’ data was material to Plaintiff and Alabama Subclass members. This
 9   is a fact that reasonable consumers would consider important when choosing to purchase, use or
10   download an application.
11        166.     Plaintiff and Alabama Subclass members were deceived, and/or could reasonably
12   be expected to be deceived by Defendants’ material misrepresentations and/or omissions
13   regarding the functionality of the Ads SDK and associated applications, the security and privacy
14   of their data, and their privacy, to their detriment.
15        167.     Defendants engaged in unfair and unconscionable conduct in violation of the Act
16   by engaging the conduct alleged herein, including by exfiltrating, manipulating, and monetizing
17   Plaintiff and Alabama Subclass members’ data without Plaintiff’s and Subclass members’
18   consent.

19        168.     As a direct and proximate result of Defendants’ unfair, unconscionable, and

20   deceptive acts and practices, Plaintiff and Alabama Subclass members have suffered and will

21   continue to suffer injury, including, but not limited to, the loss of privacy, the unauthorized

22   dissemination of their valuable data, and economic harm stemming from Defendants’

23   exploitation of their data.

24        169.     Defendants’ unconscionable and unfair acts and practices caused substantial injury

25   to Plaintiff and Alabama Subclass members, which they could not reasonably avoid, and which

26   outweighed any benefits to consumers or to competition.

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 1        170.      Plaintiff and the Alabama Subclass seek all monetary and non-monetary relief

 2   allowed by law, including the greater of (a) actual damages or (b) statutory damages of $100;

 3   treble damages; injunctive relief; attorneys’ fees, costs, and any other relief that is just and proper.

 4                                   COUNT SEVEN
                   CALIFORNIA CONSTITUTIONAL INVASION OF PRIVACY
 5
                    CALIFORNIA CONSTITUTION, ARTICLE I, SECTION 1
 6                      (ON BEHALF OF THE CALIFORNIA SUBCLASS)
 7       171.       The California Plaintiffs identified above (“Plaintiffs,” for purposes of this Count),
 8   individually and on behalf of the California Subclass, repeat and reallege Paragraphs 1-82, as if
 9
     fully alleged herein.
10
         172.       The California Constitution recognizes the right to privacy inherent in all residents
11
     of the State and creates a private right of action against private entities that invade that right.
12
         173.       Article I, Section 1 of the California Constitution provides: “All people are by
13
     nature free and independent and have inalienable rights. Among these are enjoying and defending
14
     life and liberty, acquiring, possessing, and protecting property, and pursuing and obtaining safety,
15
     happiness, and privacy.” Cal. Const. art. I, § 1.
16
         174.       The right to privacy was added to the California Constitution in 1972, through
17
     Proposition 11 (called the “Right to Privacy Initiative”). Proposition 11 was designed to codify
18
     the right to privacy, protecting individuals from invasions of privacy from both the government
19   and private entities alike: “It prevents government and business interests from collecting and
20   stockpiling unnecessary information about us and from misusing information gathered for one
21   purpose in order to serve other purposes or to embarrass us. Fundamental to our privacy is the
22   ability to control circulation of personal information.” Ballot Pamp., Proposed Stats. and
23   Amends. to Cal. Const. with arguments to voters, Gen. Elec. (Nov. 7, 1972), argument in favor
24   of Prop. 11, p. 27.
25       175.       Plaintiffs and California Subclass members have legally protected privacy
26   interests, as recognized by the California Constitution.
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 1       176.      Plaintiffs and California Subclass members have an interest in precluding

 2   Defendants’ interception, collection, dissemination and use of their data.

 3       177.      Plaintiffs and California Subclass members had a reasonable expectation of privacy

 4   under the circumstances, as they could not have reasonably expected that Defendants would

 5   violate state and federal privacy laws and collect, manipulate and use their data. Plaintiffs and

 6   California Subclass members were not aware and could not have reasonably expected that

 7   Defendants would use applications attached to their phones that would track and transmit their

 8   data to third parties without authorization.
 9       178.       Defendants’ conduct in secretly intercepting, collecting, disseminating, and using
10   Plaintiffs’ and California Subclass members’ data is an egregious breach of societal norms and is
11   highly offensive to a reasonable person.
12       179.      Defendants’ conduct was intentional and intruded on Plaintiffs’ and California
13   Subclass members’ seclusion and use of their personal property.
14       180.      Plaintiffs and California Subclass members had no knowledge and did not consent
15   or otherwise authorize Defendants to track, collect, obtain, disseminate, or otherwise use their
16   data.
17       181.      Defendants were unjustly enriched as a result of their invasion of Plaintiffs’ and
18   California Subclass members’ privacy.

19       182.      As a direct and proximate result of Defendants’ invasion of their privacy, Plaintiffs

20   and California Subclass members were injured and suffered damages, including, but not limited

21   to, the loss of privacy, and economic harm stemming from Defendants’ exploitation of their data.

22       183.      Plaintiffs and California Subclass members are entitled to equitable relief and just

23   compensation in an amount to be determined at trial. Plaintiffs and California Subclass members

24   seek all relief available for the invasion of privacy under the California Constitution, including

25   nominal damages and general privacy damages.

26

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                                  COUNT EIGHT
 1           CALIFORNIA INVASION OF PRIVACY ACT — WIRETAPPING LAW
 2                            CAL. PEN. CODE §§ 631
                     (ON BEHALF OF THE CALIFORNIA SUBCLASS)
 3
          184.     The California Plaintiffs identified above (“Plaintiffs,” for purposes of this Count),
 4
     individually and on behalf of the California Subclass, repeat and reallege Paragraphs 1-82, as if
 5
     fully alleged herein.
 6
          185.     California Penal Code Section 630 recognizes that “advances in science and
 7
     technology have led to the development of new devices and techniques for the purpose of
 8
 9   eavesdropping upon private communications and that the invasion of privacy resulting from the

10   continual and increasing use of such devices and techniques has created a serious threat to the

11   free exercise of personal liberties and cannot be tolerated in a free and civilized society.”

12        186.     At all relevant times, there was in full force and effect the California Wiretapping

13   Act, Cal. Penal Code § 631.

14        187.     The California Wiretapping Act prohibits:
                 any person . . . who willfully and without the consent of all parties to
15               the communication, or in any unauthorized manner, reads, or attempts
                 to read, or to learn the contents or meaning of any message, report, or
16               communication while the same is in transit or passing over any wire,
                 line, or cable, or is being sent from, or received at any place within
17               this state; or who uses, or attempts to use, in any manner, or for any
                 purpose, or to communicate in any way, any information so obtained,
18               or who aids, agrees with, employs, or conspires with any person or
                 persons to unlawfully do, or permit, or cause to be done any of the acts
19               or things mentioned above in this section[.]
20
          188.     Defendants are each a “person” within the scope of the California Wiretapping Act.
21
          189.     The data and transmissions within, to, and from Plaintiffs’ and California Subclass
22
     members’ phones constitute messages, reports, and/or communications, within the scope of Cal.
23
     Penal Code § 631(a), as they are transfers of signals, data, and intelligence transmitted by a wire,
24
     line, or cable system.
25

26

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 1        190.       As alleged herein, Defendants intercepted, in real time and as they were

 2   transmitted, the contents of communications, and have diverted those communications to itself

 3   without consent.

 4        191.       Defendants intercepted these data transmissions by diverting them to its own

 5   servers, unbeknownst to Plaintiffs and California Subclass members

 6        192.       As detailed herein, the electronic communications detailed above that Defendants

 7   intercepted are tied to individual persons, are easily re-identified through use of MAIDs and other

 8   identifiers, and are for Defendants’ purposes, not anonymous.
 9        193.       Defendants’ SDK and associated mobile applications constitute a machine,
10   instrument, or contrivance that taps or makes unauthorized connection to Plaintiffs’ and
11   California Subclass members’ mobile phone communication system.
12        194.       Plaintiffs and California Subclass members have a reasonable expectation of
13   privacy within their homes, in their doctor’s office, and while going about their day, and Plaintiffs
14   and California Subclass members reasonably expected privacy while driving their vehicles and
15   walking about their daily lives. Further, there is a reasonable expectation that their location and
16   other data are private.
17        195.       In further violation of the California Wiretapping Act, Defendants have
18   intentionally used or endeavored to use the contents of the communications described above

19   knowing or having reason to know that the information was obtained through unlawful

20   interception.

21        196.       Defendants have used the contents of the communications described above by

22   monetizing Plaintiffs’ and Class members’ personal data, to enhance their targeted advertising,

23   personalized product recommendations, and strategic pricing optimization for their own financial

24   and commercial benefit, obtaining substantial profit.

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26

     CLASS ACTION COMPLAINT                            36             Cotchett, Pitre & McCarthy, LLP
     (Case No.          )                                             1809 7th Avenue, Suite 1610
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 1        197.     Defendants knew or should have known that the detailed information they used

 2   was captured in secret in violation of the Act for the following reasons, among others that will

 3   become known through discovery:

 4                 a.      The lack of public knowledge about Defendants’ collection and sharing

 5         practices until at least January 2025;

 6                 b.      The fact that Defendants continue to collect after it was publicized that

 7         collection was secret/happening without consent or knowledge; and

 8                 c.      The nature of the data as such that it had to be obtained via a wiretap.
 9        198.     Upon information and belief, Defendants disclose and unlawfully obtain data for
10   their own financial gain to this day.
11        199.     At all relevant times, Plaintiffs and California Subclass members were not aware
12   that Defendants were intercepting and recording their data, and therefore could not provide
13   consent to have any part of their communications intercepted and recorded, transmitted or used.
14        200.     Neither Defendants nor any other person informed Plaintiffs and California
15   Subclass members that Defendants were intercepting and transmitting their data. Plaintiffs and
16   California Subclass members did not know Defendants were intercepting and recording their
17   data, as such they could not and did not consent for their data to be intercepted and/or used by
18   Defendants.

19        201.     As a direct and proximate result of Defendants’ violations of the Wiretapping Act,

20   Plaintiffs and California Subclass members were injured and suffered damages, a loss of privacy,

21   and loss of the value of their personal information in an amount to be determined at trial.

22        202.     Defendants were unjustly enriched by their violations of the Wiretapping Act.

23        203.     Pursuant to California Penal Code Section 637.2, Plaintiffs and California Subclass

24   members have been injured by Defendants’ violations of the Wiretapping Act, and seek damages

25   for the greater of $5,000 or three times the amount of actual damages, and injunctive relief, plus

26   reasonable attorneys’ fees and costs

     CLASS ACTION COMPLAINT                           37             Cotchett, Pitre & McCarthy, LLP
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                                  COUNT NINE
 1        CALIFORNIA INVASION OF PRIVACY ACT — ELECTRONIC TRACKING
                                    DEVICE
 2
                             CAL. PEN. CODE §§ 637.7
 3                  (ON BEHALF OF THE CALIFORNIA SUBCLASS)
 4        204.     The California Plaintiffs identified above (“Plaintiffs,” for purposes of this Count),
 5   individually and on behalf of the California Subclass, repeat and reallege Paragraphs 1-82, as if
 6   fully alleged herein.
 7        205.     California Penal Code Section 637.7 prohibits any person from using an electronic
 8   tracking device to determine the location or movements of any person.
 9
          206.     Defendants are each a “person” within the scope of CIPA.
10
          207.     Amazon’s Ads SDK covertly integrated within associated mobile applications and
11
     downloaded onto Plaintiffs’ and California Subclass members’ phones is an “electronic tracking
12
     device” as defined by CIPA as it is a device that is integrated into the user’s phone and reveals
13
     the user’s location, movement, and other data by the transmission of electronic signals through
14
     the intercept, collection, and dissemination of Plaintiffs’ and California Subclass members’
15
     location information.
16
          208.     Defendants violated Cal. Penal Code § 637.7 by attaching Defendants’ SDK to
17
     Plaintiffs’ and California Subclass members’ phones and thereby intercepting, collecting, taking,
18
     storing, using, and disseminating Plaintiffs’ and California Subclass members’ data.
19        209.     Neither Defendants nor any other person informed Plaintiffs and California
20   Subclass members or meaningfully disclosed that Defendants integrated their SDK, an electronic
21   tracking device, into Plaintiffs’ and California Subclass members’ phones.
22        210.     The collection of Plaintiffs’ and California Subclass members’ data without full
23   and informed consent violated and continues to violate Cal. Penal Code § 637.7.
24        211.     As a direct and proximate result of Defendants’ violations, Plaintiffs and California
25   Subclass members were injured and suffered damages, a loss of privacy, and loss of the value of
26   their personal information in an amount to be determined at trial.
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 1        212.     Pursuant to Cal. Pen. Code Section 637.2, Plaintiffs and California Subclass

 2   members have been injured by Defendants’ violations of the CIPA and seek damages for the

 3   greater of $5,000 or three times the amount of actual damages, and injunctive relief, plus

 4   reasonable attorneys’ fees and costs.

 5                                   COUNT TEN
                  CALIFORNIA COMPUTER DATA ACCESS AND FRAUD ACT
 6                            CAL. PEN. CODE §§ 502, et seq.
 7                     (ON BEHALF OF THE CALIFORNIA SUBCLASS)

 8        213.     The California Plaintiffs identified above (“Plaintiffs,” for purposes of this Count),
 9   individually and on behalf of the California Subclass, repeat and reallege Paragraphs 1-82, as if
10   fully alleged herein.
11        214.     The California legislature enacted the Computer Data Access and Fraud Act
12   (“CDAFA”) to “expand the degree of protection afforded to individuals . . . from tampering,
13   interference, damage, and unauthorized access to lawfully created computer data and computer
14   systems.” Cal. Penal Code § 502(a). The enactment of CDAFA was motivated by the finding that
15   “the proliferation of computer technology has resulted in a concomitant proliferation of . . .
16   unauthorized access to computers, computer systems, and computer data.” Id.
17        215.     The CDAFA provides a private right of action to the “owner or lessee of the
18   computer, computer system, computer network, computer program, or data who suffers damage

19   or loss by reason of a violation of any of the provisions of subsection (c).” Cal. Penal Code §

20   502(e).

21        216.     Defendants’ SDK and associated mobile applications on Plaintiffs’ and California

22   Subclass members’ phones constitute “computers” within the scope of the CDAFA. Plaintiffs

23   and California Subclass members are owners and/or lessees of the computers or computer

24   systems, their phones.

25        217.     Defendants violated the following sections of the CDAFA:

26

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 1                  a.     Section 502(c)(1), which makes it unlawful to “knowingly access[] and

 2         without permission . . . use[] any data, computer, computer system, or computer network

 3         in order to either (A) devise or execute any scheme or artifice to defraud, deceive, or extort,

 4         or (B) wrongfully control or obtain money, property, or data;”

 5                  b.     Section 502(c)(2), which makes it unlawful to “knowingly access[] and

 6         without permission take[], cop[y], or make[] use of any data from a computer, computer

 7         system, or computer network, or take[] or cop[y] any supporting documentation, whether

 8         existing or residing internal or external to a computer, computer system, or computer
 9         network;”
10                  c.     Section 502(c)(6), which makes it unlawful to “knowingly and without
11         permission provide[] or assist[] in providing a means of accessing a computer, computer
12         system, or computer network in violation of this section;”
13                  d.     Section 502(c)(7), which makes it unlawful to “knowingly and without
14         permission access[] or cause[] to be accessed any computer, computer system, or computer
15         network.”
16        218.      As alleged herein, the electronic communications transmitted within, to, and from
17   Plaintiffs’ and California Subclass members’ phones are stored in electronic components of those
18   phones.

19        219.      Mobile phones, are facilities through which electronic communication services are

20   provided because they provide users, such as Plaintiffs and California Subclass members, the

21   ability to send and receive electronic communications including related to their personal data.

22        220.      As alleged herein, there is a reasonable expectation of privacy within a person’s

23   home, at their doctor’s office, and at various points while going through daily life, and Plaintiffs

24   and California Subclass members reasonably expected this privacy. Further, there is a reasonable

25   expectation that the interactions and communications between user and phone, i.e., personal data

26   are private.

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 1        221.     Common understanding and experience regarding how mobile phones work create

 2   a reasonable expectation that Defendants would not access the electronic communications

 3   described above that are stored in Plaintiffs’ and California Subclass members’ phones.

 4        222.     Defendants knowingly accessed Plaintiffs’ and California Subclass members’

 5   computers and/or computer systems without their permission, and thereby intercepted, took,

 6   copied and made use of the data concerning Plaintiffs and California Subclass members.

 7        223.     Defendants intercepted, collected, disseminated and used Plaintiffs’ and California

 8   Subclass members’ data as part of a scheme to deceive and defraud Plaintiffs and California
 9   Subclass members, and to wrongfully and unjustly enrich itself at the expense of Plaintiffs and
10   California Subclass members.
11        224.     Defendants knowingly accessed Plaintiffs’ computers and/or computer systems
12   without Plaintiffs’ and California Subclass members’ informed consent.
13        225.     Defendants accessed these stored electronic communications in addition to and
14   separately from intercepting other electronic communications transmitted in real time.
15        226.     As detailed herein, the data contained in the electronic communications detailed
16   above that Defendants accessed are tied to individual drivers, MAIDS, and are not anonymized.
17        227.     Defendants’ conduct was willful and intentional, and invaded Plaintiffs’ and
18   California Subclass members’ expectations of privacy.

19        228.     Defendants were unjustly enriched by intercepting, acquiring, taking, or using

20   Plaintiffs’ and California Subclass members’ data without their permission, and using it for

21   financial benefit. Defendants have been unjustly enriched in an amount to be determined at trial.

22        229.     The communications accessed by Defendants in violation of Cal. Penal Code § 502

23   have significant value, evidenced by the profits that Defendants have obtained from their targeted

24   advertising, product recommendations, and pricing optimization, and as evidenced by the

25   significant value of the aggregated data for various applications.

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     CLASS ACTION COMPLAINT                           41            Cotchett, Pitre & McCarthy, LLP
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 1        230.      Because of Defendants’ conduct, Plaintiffs and California Subclass members have

 2   forever lost the value of their data, their privacy interest in the data, and their control over its use.

 3        231.      As a direct and proximate result of Defendants’ violations of the CDAFA, Plaintiffs

 4   and California Subclass members suffered damages. Plaintiffs and California Subclass members

 5   suffered actual injuries, including but not limited to (a) damage to and diminution of the value of

 6   their personal information; (b) violation of their privacy rights; and (c) the likelihood of future

 7   misuse of their private information.

 8        232.      Pursuant to CDAFA Section 502(e)(1), Plaintiffs and California Subclass members
 9   seek compensatory, injunctive and equitable relief in an amount to be determined at trial.
10        233.      Pursuant to CDAFA Section 502(e)(2), Plaintiffs and California Subclass members
11   seek an award of reasonable attorneys’ fees and costs.
12        234.      Pursuant to CDAFA Section 502(e)(4), Plaintiffs and California Subclass members
13   seek punitive or exemplary damages for Defendants’ willful violations of the CDAFA.
14                                       COUNT ELEVEN
                              CALIFORNIA UNFAIR COMPETITION LAW
15                                 CAL. CIV. CODE §§ 17200, et seq.
16                           (ON BEHALF OF THE CALIFORNIA SUBCLASS)

17        235.      The California Plaintiffs identified above (“Plaintiffs,” for purposes of this Count),
18   individually and on behalf of the California Subclass, repeat and reallege Paragraphs 1-82, as if
19   fully alleged herein.
20        236.      The California Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §17200,
21   et seq., prohibits, inter alia, “any unlawful, unfair, or fraudulent business act or practice.” Cal.
22   Bus. & Prof. Code §17200.
23        237.      Defendants are each a “person” as defined by Cal. Bus. & Prof. Code § 17201.
24        238.      Defendants violated the UCL by engaging in business acts and practices which are
25   unlawful, unconscionable, and unfair under the UCL.
26

     CLASS ACTION COMPLAINT                              42              Cotchett, Pitre & McCarthy, LLP
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 1        239.    Defendants’ acts and practices are unlawful because Defendants violated and

 2   continue to violate California common law, constitutional, and statutory rights to privacy,

 3   including but not limited to the California Constitution Article I, Section 1, CIPA, CDAFA, and

 4   CLRA.

 5        240.    Defendants engaged in unfair, unconscionable, unlawful, and/or deceptive acts and

 6   practices in conducting trade and commerce in violation of the UCL by:

 7                a.      Intercepting, collecting, using, and selling Plaintiffs’ and California

 8         Subclass members’ data, including location data, without obtaining their consent;
 9                b.      Omitting, suppressing, and concealing the material fact that Defendants
10         were intercepting, collecting, using, and monetizing Plaintiffs’ and California Subclass
11         members’ data for Defendants’ own financial and commercial benefit;
12                c.      Omitting, suppressing, and concealing the material fact that Defendants
13         collected, manipulated, used, and monetized Plaintiffs’ and California Subclass members’
14         data for their own financial and commercial benefit;
15                d.      Omitting, suppressing, and concealing material facts regarding the
16         functionality of Defendants’ SDK and associated mobile applications with respect to
17         location tracking and the privacy of consumers;
18                e.      Misrepresenting the purpose of Defendants’ SDK and associated mobile

19         applications that they would protect the privacy of Plaintiffs’ and California Subclass

20         members’ data, including that it would not intercept, collect, use, or monetize data without

21         consumers’ express consent; and

22                f.      Failing to comply with common law and/or statutory duties pertaining to

23         the privacy of Plaintiffs’ and California Subclass members’ data.

24        241.    Defendants acted intentionally, knowingly, and maliciously to violate the Act, and

25   recklessly disregarded Plaintiffs’ and California Subclass members’ rights, because Defendants

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     CLASS ACTION COMPLAINT                          43             Cotchett, Pitre & McCarthy, LLP
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 1   intentionally intercepted, collected, used, and sold Plaintiffs’ and Subclass members’ data,

 2   including location data, without obtaining their consent.

 3        242.     The fact that Defendants intercepted, collected, used, and sold Plaintiffs’ and

 4   Subclass members’ data was material to Plaintiffs and California Subclass members. This is a

 5   fact that reasonable consumers would consider important when choosing to download any of the

 6   thousands of mobile applications using Defendants’ SDK.

 7        243.     Plaintiffs and California Subclass members were deceived and/or could reasonably

 8   be expected to be deceived by Defendants’ material misrepresentations and omissions regarding
 9   the functionality of their Ads SDK and associated mobile applications, the security and privacy
10   of their data, and their privacy.
11        244.     In the course of their business, Defendants repeatedly and regularly engaged in the
12   unlawful, unconscionable, and unfair acts or practices, which caused serious harm to consumers,
13   including Plaintiffs and California Subclass members.
14        245.     Plaintiffs’ and the California Subclass’ data, including location data, has tangible
15   value. As a direct and proximate result of Defendants’ unfair and deceptive acts and practices,
16   Plaintiffs’ and California Subclass members’ data is in the possession of third parties who have
17   used and will use such data for their commercial benefit
18        246.     As a direct and proximate result of Defendants’ unfair, unconscionable, and

19   deceptive acts and practices, Plaintiffs and California Subclass members have suffered and will

20   continue to suffer injury, including, but not limited to: loss of privacy; unauthorized

21   dissemination of their valuable data; damage to and diminution of the value of their personal

22   information; the likelihood of future misuse of their data; and economic harm stemming from

23   the exploitation of their data.

24        247.     Plaintiffs and California Subclass members seek all monetary and non-monetary

25   relief allowed by law, including restitution of all profits stemming from Defendants’ unlawful,

26   unfair, and unconscionable practices or use of their data; declaratory relief; reasonable attorneys’

     CLASS ACTION COMPLAINT                           44             Cotchett, Pitre & McCarthy, LLP
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 1   fees and costs under California Code of Civil Procedure § 1021.5; injunctive relief; and other

 2   appropriate equitable relief.

 3                                    COUNT TWELVE
                        CONNECTICUT UNFAIR TRADE PRACTICES ACT
 4                            CONN. GEN. STAT. §§ 42-110a, et seq.
 5                       (ON BEHALF OF THE CONNECTICUT SUBCLASS)

 6       248.       The Connecticut Plaintiff identified above (“Plaintiff,” for purposes of this Count),
 7   individually and on behalf of the Connecticut Subclass, repeats and realleges Paragraphs 1-82 as
 8   if fully alleged herein.
 9       249.      The Connecticut Unfair Trade Practices Act (“CUPTA”), Conn. Gen. Stat. § 41-
10   110a, et seq., prohibits “unfair methods of competition and unfair or deceptive acts or practices
11   in the conduct of any trade or commerce.” Conn. Gen. Stat. 7 41-110b(a).
12       250.      Plaintiff, Connecticut Subclass members, and Defendants are each a “person” as
13   defined in Conn. Gen. Stat. Ann. § 42-110a.
14       251.      Amazon engaged in unfair, unconscionable, unlawful, and/or deceptive acts and
15   practices in conducting trade and commerce in violation of the CUTPA:
16      a. Intercepting, collecting, using and monetizing Plaintiff’s and Connecticut Subclass
17         members’ data without obtaining their consent;
18      b. Omitting, suppressing, and concealing the material fact that Amazon was intercepting,
19         collecting, using, and monetizing Plaintiff’s and Connecticut Subclass members’ location
20         and other personal data for their own financial and commercial benefit;
21      c. Omitting, suppressing, and concealing material facts regarding the functionality of their
22         Ads SDK with respect to the privacy of consumers in their homes, in their doctor’s office,
23         and while they go throughout daily life; and
24      d. Failing to comply with common law and/or statutory duties pertaining to the privacy of
25         Plaintiff’s and Connecticut Subclass members’ data.
26

     CLASS ACTION COMPLAINT                            45             Cotchett, Pitre & McCarthy, LLP
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 1       252.      Amazon acted intentionally, knowingly, and maliciously to violate the Act, and

 2   recklessly disregarded Plaintiff’s and Connecticut Subclass members’ rights, because Amazon

 3   intentionally intercepted, collected, used, and monetized Plaintiff’s and Connecticut Subclass

 4   members’ data without obtaining their consent.

 5       253.      The fact that Amazon intercepted, collected, used, and sold Plaintiff’s and

 6   Connecticut Subclass members’ data was material to Plaintiff and Connecticut Subclass

 7   members. This is a fact that reasonable consumers would consider important when choosing to

 8   purchase or download an application.
 9       254.      Plaintiff and Connecticut Subclass members were deceived and/or could
10   reasonably be expected to be deceived by Amazon’s material misrepresentations and/or
11   omissions regarding the functionality of the Ads SDK and their privacy to their detriment.
12       255.      Defendants’ trade practices were unconscionable and unfair because they offend
13   public policy as it has been established by statutes, the common law, or otherwise; are immoral,
14   unethical, oppressive or unscrupulous; or cause substantial injury to consumers.
15       256.      Plaintiff’s and the Connecticut Subclass’ data has tangible value. As a direct and
16   proximate result of Defendants’ unfair and deceptive acts and practices, Plaintiff’s and
17   Connecticut Subclass members’ property interest in their own data has been substantially
18   impacted.

19       257.      As a direct and proximate result of Defendants’ unfair, unconscionable, and

20   deceptive acts and practices, Plaintiff and Connecticut Subclass members have suffered and will

21   continue to suffer injury, including, but not limited to: loss of privacy; unauthorized monetization

22   of their valuable data; damage to and diminution of the value of their personal information; and

23   the likelihood of future misuse.

24       258.      Plaintiff and Connecticut Subclass members seek all monetary and non-monetary

25   relief allowed by law, including actual damages, injunctive relief, and reasonable attorneys’ fees

26   and costs.

     CLASS ACTION COMPLAINT                           46             Cotchett, Pitre & McCarthy, LLP
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                                    COUNT THIRTEEN
 1
                       UNFAIR AND DECEPTIVE TRADE PRACITCES ACT
 2                              FLA. STAT. §§ 501.201, et seq.
 3                        (ON BEHALF OF THE FLORIDA SUBCLASS)

 4       259.      The Florida Plaintiff identified above (“Plaintiff,” for purposes of this Count),

 5   individually and on behalf of the Florida Subclass, repeats and realleges Paragraphs 1-82, as if

 6   fully alleged herein.

 7       260.      The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. §

 8   501.201, et seq., prohibits “[u]nfair methods of competition, unconscionable acts or practices,
 9   and unfair or deceptive acts or practices in the conduct of any trade or commerce[.]” Fla. Stat. §
10   501.204.
11       261.      Plaintiff and the members of the Florida Subclass are each a “consumer” as defined
12   in Fla. Stat. Ann. § 501.203.
13       262.      Defendants are each a “person” as defined in Fla. Stat. Ann. § 504.203.
14       263.      Defendants each engaged in “trade or commerce” affecting the people of Florida

15   by advertising, offering for sale, selling or distributing goods and services in the State of Florida.

16   Fla. Stat. Ann. § 501.203.

17       264.      Defendants engaged in unfair, unconscionable, unlawful, and/or deceptive acts and

18   practices in conducting trade and commerce in violation of the FDUTPA by:

19      a. Material omissions and/or misrepresentations related to the characteristics of goods or

20         services;

21      b. Material omissions and/or misrepresentations as to the standard, quality, or grade of goods

22         or services;

23      c. Engaging in other conduct that creates a likelihood of confusion or misunderstanding; and

24      d. Failing to comply with common law and/or statutory duties pertaining to the privacy of

25         Plaintiff’s and Florida Subclass members’ data.

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     CLASS ACTION COMPLAINT                            47              Cotchett, Pitre & McCarthy, LLP
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 1       265.       These deceptive statements, misrepresentations, omissions, concealments and acts

 2   constitute violations of Fla. Stat. 7 501.204(1).

 3       266.       Defendants acted intentionally, knowingly, and maliciously to violate FDUTPA,

 4   and recklessly disregarded Plaintiff’s and Florida Subclass members’ rights, because Defendants

 5   intentionally intercepted, collected, used, and monetized Plaintiff’s and Florida Subclass

 6   members’ data without obtaining their consent.

 7       267.       The fact that Defendants intercepted, collected, used, and monetized Plaintiff’s and

 8   Florida Subclass members’ data was material to Plaintiff and Florida Subclass members. This is
 9   a fact that reasonable consumers would consider important when choosing download, use, or
10   purchase an application.
11       268.       Plaintiff and Florida Subclass members were deceived and/or could reasonably be
12   expected to be deceived by Defendants’ material misrepresentations and omissions regarding the
13   functionality of the Ads SDK and the security and privacy of their data to their detriment.
14       269.       As a direct and proximate result of Defendants’ unfair, unconscionable, and
15   deceptive acts and practices, Plaintiff and Florida Subclass members have suffered and will
16   continue to suffer injury, including, but not limited to: loss of privacy; unauthorized
17   dissemination of their valuable data; damage to and diminution of the value of their personal
18   information; the likelihood of future misuse of their data; and economic harm stemming from

19   the exploitation of their data.

20       270.       Plaintiff and Florida Subclass members seek all monetary and non-monetary relief

21   allowed by law, including actual damages, injunctive relief, and reasonable attorneys’ fees and

22   costs.

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     CLASS ACTION COMPLAINT                              48          Cotchett, Pitre & McCarthy, LLP
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                                   COUNT FOURTEEN
 1
                       FLORIDA SECURITY OF COMMUNICATIONS ACT
 2                              FLA. STAT. §§ 934.01, et seq.
 3                        (ON BEHALF OF THE FLORIDA SUBCLASS)

 4       271.      The Florida Plaintiff identified above (“Plaintiff,” for purposes of this Count),

 5   individually and on behalf of the Florida Subclass, repeats and realleges Paragraphs 1-82, as if

 6   fully alleged herein.

 7       272.      The Florida Security of Communications Act (“FSCA”), Fla. Stat. § 934.01, et

 8   seq., states that any person who “[i]ntentionally intercepts, endeavors to intercept, or procures
 9   any other person to intercept or endeavor to intercept any wire, oral, or electronic
10   communication” is subject to liability. Fla. Stat. § 934.03(1)(a).
11       273.      Plaintiff, including members of the Florida Subclass, and Defendants each
12   constitute a “person” as defined in Fla. Stat. § 934.02.
13       274.      The data and transmissions within, to, and from Plaintiff’s and Class members’
14   phones constitute “electronic communications,” as defined by Fla. Stat. § 934.02, as they are
15   transfers of signals, data, and intelligence transmitted by electromagnetic, photoelectronic or
16   photooptical systems that affect intrastate, interstate or foreign commerce.
17       275.      The FSCA prohibits any person from intentionally disclosing, or endeavoring to
18   disclose, to any other person “the contents of any wire, oral, or electronic communication,

19   knowing or having reason to know that the information was obtained through the interception of

20   a wire, oral, or electronic communication in violation of [the FSCA].” Fla. Stat. Ann. § 934.03(c).

21       276.      The FSCA prohibits any person from intentionally using, or endeavoring to use,

22   “the contents of any wire, oral, or electronic communication, knowing or having reason to know

23   that the information was obtained through the interception of a wire, oral, or electronic

24   communication in violation of [the FSCA.]” Fla. Stat. Ann. § 934.03(d).

25

26

     CLASS ACTION COMPLAINT                           49              Cotchett, Pitre & McCarthy, LLP
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 1       277.      As alleged herein, Defendants intercepted, in real time and as they were

 2   transmitted, the contents of electronic communications, and diverted those communications to

 3   itself without consent.

 4       278.      As detailed herein, the electronic communications detailed above that Defendants

 5   intercepted are tied to individuals and are not anonymized.

 6       279.      Plaintiff and Florida Subclass members have a reasonable expectation of privacy

 7   within their homes, in their doctor’s office, and at various points throughout their days, and

 8   Plaintiff and Florida Subclass members reasonably expected privacy in these and other locations.
 9   Further, there is a reasonable expectation that the interactions between a consumer and their
10   phone, including their personal data, are private.
11       280.      Defendants intercepted these electronic communications in real time separately
12   from and in addition to accessing data stored in Plaintiff’s and Florida Subclass members’
13   MAIDs.
14       281.      Defendants intercepted these data transmissions by diverting them, during flight,
15   to their own servers, unbeknownst to Plaintiff and Florida Subclass members.
16       282.      As detailed herein, the electronic communications detailed above that Defendants
17   intercepted are tied to individuals and are not anonymized.
18       283.      In further violation of the FSCA, Defendants have used or attempted to use the

19   contents of the communications described above while knowing or having reason to know that

20   the information was obtained through interception in violation of the FSCA.

21       284.      In further violation of the FSCA, Defendants have used the information derived

22   from the communications described above to create products they market, license, and sell,

23   including targeted advertising and other marketing services including pricing optimization and

24   strategic product recommendations using Plaintiff’s and the Florida Subclass members’ data.

25       285.      Upon information and belief, Defendants continue to use unlawfully obtained data

26   for their own financial gain.

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 1       286.      Plaintiff and Florida Subclass members did not consent or otherwise authorize

 2   Defendants to intercept, manipulate, or use their communications.

 3       287.      As a result, Plaintiff and Florida Subclass members have suffered harm and injury

 4   due to the interception, disclosure, and/or use of communications containing their private and

 5   personal information.

 6       288.      Defendants’ violations of the FSCA have directly and proximately caused Plaintiff

 7   and the Florida Subclass to suffer harm and injury due to the interception, disclosure, and/or use

 8   of their private and personal information in an amount to be ascertained at trial.
 9       289.      Pursuant to Fla. Stat. § 934.10(1), Plaintiff and Florida Subclass members have
10   been damaged by the interception, disclosure, and/or use of their communications in violation of
11   the FSCA and are entitled to: (1) damages, in an amount to be determined at trial, assessed as the
12   greater of (a) the sum of the actual damages suffered by Plaintiff and the Florida Subclass or (b)
13   statutory damages of whichever is the greater of $100 per day per violation or $10,000; and (2)
14   punitive damages; and (3) reasonable attorneys’ fees and other litigation costs reasonably
15   incurred.
16                               COUNT FIFTEEN
       ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
17                      815 ILL. COMP. STAT. §§ 505, et seq.
18                   (ON BEHALF OF THE ILLINOIS SUBCLASS)

19       290.      The Illinois Plaintiffs identified above (“Plaintiffs,” for purposes of this Count),

20   individually and on behalf of the Illinois Subclass, repeat and reallege Paragraphs 1-82, as if fully

21   alleged herein.

22       291.      Defendants are each a “person” as defined by 815 Ill. Comp. Stat. §§ 505/1(c).

23       292.      Plaintiffs and Illinois Subclass members are “consumers” as defined by 815 Ill.

24   Comp. Stat. §§ 505/1(e).

25       293.      Defendants’ conduct as described herein was in the conduct of “trade” or

26   “commerce” as defined by 815 Ill. Comp. Stat. § 505/1(f).

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 1       294.        Defendant’s deceptive, unfair, and unlawful trade acts or practices, in violation of

 2   815 Ill. Comp. Stat. § 505/2, include:

 3      a. Material omissions and/or misrepresentations related to the characteristics of goods or

 4         services;

 5      b. Material omissions and/or misrepresentations as to the standard, quality, or grade of goods

 6         or services;

 7      c. Engaging in other conduct that creates a likelihood of confusion or misunderstanding; and

 8      d. Failing to comply with common law and/or statutory duties pertaining to the privacy of
 9         Plaintiffs’ and Illinois Subclass members’ data.
10       295.        Defendants acted intentionally, knowingly, and maliciously to violate the Act, and
11   recklessly disregarded Plaintiffs’ and Illinois Subclass members’ rights, because Defendants
12   intentionally intercepted, collected, used, and monetized Plaintiff’s and Illinois Subclass
13   members’ data without obtaining their consent.
14       296.        The fact that Defendants intercepted, collected, used, and monetized Plaintiffs’ and
15   Illinois Subclass members’ data was material to Plaintiffs and Illinois Subclass members. This is
16   a fact that reasonable consumers would consider important when downloading and using
17   applications.
18       297.        Plaintiffs and Illinois Subclass members were deceived and/or could reasonably be

19   expected to be deceived by Defendants’ material misrepresentations and omissions regarding the

20   functionality of Defendants’ Ads SDK and associated applications and the security and privacy

21   of their data to their detriment. Defendants intended to mislead Plaintiffs and Illinois Subclass

22   members and induce them to rely on their misrepresentations and/or omissions.

23       298.        In the course of its business, Defendants engaged in activities with a tendency or

24   capacity to deceive.

25       299.        Had Defendants disclosed to Plaintiffs and Illinois Subclass members that it was

26   collecting and monetizing data, it would have been unable to convince many thousands of

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 1   application developers to integrate the Ads SDK. Instead, in order to drastically increase the

 2   number of ads served to customers and to increase their reach with third-party applications,

 3   Defendants did not disclose material terms or obtain actual, written consent for them. Instead,

 4   Defendants omitted material facts from consumers and misrepresented the actual purpose of its

 5   programs. Accordingly, Plaintiffs and the Illinois Subclass members acted reasonably in relying

 6   on Defendants’ misrepresentations and omissions, the truth of which they could not have

 7   discovered.

 8       300.       Defendants are engaged in unfair and unconscionable conduct in violation of the
 9   Act by engaging in the conduct alleged herein, including by exfiltrating and monetizing
10   Plaintiffs’ and Illinois Subclass members’ data without their consent.
11       301.       Plaintiffs’ and the Illinois Subclass’ data has tangible value. As a direct and
12   proximate result of Defendants’ unfair, unconscionable, and deceptive acts and practices,
13   Plaintiffs and Illinois Subclass members have suffered and will continue to suffer injury,
14   including, but not limited to: loss of privacy; unauthorized dissemination of their valuable data;
15   damage to and diminution of the value of their personal information; the likelihood of future
16   misuse of their data; and economic harm stemming from the exploitation of their data.
17       302.       Plaintiffs and Illinois Subclass members seek all monetary and non-monetary relief
18   allowed by law, including actual damages, injunctive relief, and reasonable attorneys’ fees and

19   costs.

20                              COUNT SIXTEEN
      ILLINOIS WIRETAPING, ELECTRONIC SURVEILLANCE, AND INTERCEPTION
21                        OF COMMUNICATIONS LAW,
                              720 ILCS 5/14-1, et seq.
22
                    (ON BEHALF OF THE ILLINOIS SUBCLASS)
23
         303.       The Illinois Plaintiffs identified above (“Plaintiffs,” for purposes of this Count),
24
     individually and on behalf of the Illinois Subclass, repeat and reallege Paragraphs 1-82, as if fully
25
     alleged herein.
26

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 1       304.        The Illinois Eavesdropping law, 720 ILCS 5/14-1, et seq., prohibits, inter alia, any

 2   person from knowingly or intentionally “intercept[ing], record[ing], or transcrib[ing], in a

 3   surreptitious manner, any private electronic communication” without the consent of all parties.

 4   720 ILCS 5/14-2(a)(3).

 5       305.        The Illinois Eavesdropping law also prohibits any person from using or disclosing

 6   “any information which he or she knows or reasonably should know was obtained” in violation

 7   of the Act, unless such use or disclosure is done “with the consent of all of the parties.” 720 ILCS

 8   5/14-2(a)(5).
 9       306.        Defendants are each a “person” within the scope of the Illinois Eavesdropping law.
10       307.        The data and transmissions within, to, and from Plaintiffs’ and Illinois Subclass
11   members’ phones constitute “private electronic communications” as defined by 720 ILCS 5/14-
12   1(e), as they are transfers of signals, data, and intelligence transmitted by electromagnetic,
13   photoelectronic or photooptical systems.
14       308.        Plaintiffs and Illinois Subclass members have a reasonable expectation of privacy
15   within their homes, at their doctor’s office, and at various points throughout their day, and
16   Plaintiffs and Illinois Subclass members reasonably expected privacy while in their homes, at
17   their doctor’s office, and at various points throughout their day.
18       309.        As alleged herein, Defendants have intercepted, in real time and as they were

19   transmitted, the contents of private electronic communications, and diverted those

20   communications to itself without consent.

21       310.        Defendants intercepted these data transmissions by diverting them, during flight

22   through Defendants’ Ads SDK or similar device, to their own servers, unbeknownst to Plaintiffs

23   and Illinois Subclass members.

24       311.        As detailed herein, the electronic communications detailed above that Defendants

25   intercepted are tied to individuals and are not anonymized.

26

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 1          312.    In further violation of the Illinois Eavesdropping law, Defendants intentionally

 2   used or endeavored to use the contents of the communications described above knowing or

 3   having reason to know that the information was obtained through interception in violation of the

 4   Act.

 5          313.    In further violation of the FSCA, Defendants have used the information derived

 6   from the communications described above to create products they market, license, and sell,

 7   including targeted advertising and other marketing services including pricing optimization and

 8   strategic product recommendations using Plaintiff’s and the Florida Subclass members’ data.
 9          314.    Plaintiffs and Illinois Subclass members did not consent or otherwise authorize
10   Defendants to intercept, monetize, or use their communications.
11          315.    As a result, Plaintiffs and Illinois Subclass members have suffered harm and injury
12   due to the interception and/or use of communications containing their private and personal
13   information.
14          316.    Pursuant to 720 ILCS 14-6, Plaintiffs and Illinois Subclass members have been
15   damaged by the interception, monetization, and/or use of their communications in violation
16   of the Eavesdropping law and are entitled to: (1) damages, in an amount to be determined at trial;
17   (2) punitive damages; (3) injunctive relief prohibiting Defendants from further eavesdropping;
18   and (4) reasonable attorneys’ fees and other litigation costs reasonably incurred.

19                                  COUNT SEVENTEEN
                       MASSACHUSETTS CONSUMER PROTECTION ACT
20                            MASS. GEN. LAWS ANN. §§ 1, et seq.
21                     (ON BEHALF OF THE MASSACHUSETTS SUBCLASS)

22          317.    The Massachusetts Plaintiff identified above (“Plaintiff,” for purposes of this

23   Count), individually and on behalf of the Massachusetts Subclass, repeats and realleges

24   Paragraphs 1-82, as if fully alleged herein.

25          318.    Plaintiff and Massachusetts Subclass members are “persons” as defined by Mass.

26   Gen. Laws Ann. Ch. 93A, (7 1(a).

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 1       319.       Defendants are engaged in “trade or commerce” as defined by Mass. Gen. Laws

 2   Ann. Ch. 93A, § 1(b), by offering goods and services and engaging in business practices that

 3   directly or indirectly affect the people of Massachusetts.

 4       320.       Defendants are engaged in unfair methods of competition and unfair or deceptive

 5   acts or practices in the conduct of trade or commerce in violation of Mass. Gen. Laws Ann. Ch.

 6   93A, § 2(a).

 7       321.       Amazon’s unfair and deceptive acts or practices include:

 8      a. Material omissions and/or misrepresentations related to the characteristics of goods or
 9         services;
10      b. Material omissions and/or misrepresentations as to the standard, quality, or grade of goods
11         or services;
12      c. Engaging in other conduct that creates a likelihood of confusion or misunderstanding; and
13      d. Failing to comply with common law and/or statutory duties pertaining to the privacy of
14         Plaintiff’s and Massachusetts Subclass members’ data.
15       322.       Amazon acted intentionally, knowingly, and maliciously to violate the Act, and
16   recklessly disregarded Plaintiff’s and Massachusetts Subclass members’ rights, because Amazon
17   intentionally intercepted, collected, used, and monetized Plaintiff’s and Massachusetts Subclass
18   members’ sensitive geolocation and other data without obtaining their consent.

19       323.       The fact that Amazon intercepted, collected, used, and sold Plaintiff’s and

20   Massachusetts Subclass members’ data was material to Plaintiff and Massachusetts Subclass

21   members. This is a fact that reasonable consumers would consider important when choosing to

22   purchase or download an application.

23       324.       Plaintiff and Massachusetts Subclass members were deceived and/or could

24   reasonably be expected to be deceived by Amazon’s material misrepresentations and omissions

25   regarding the functionality of Defendants’ Ads SDK and the security and privacy of their data to

26   their detriment.

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 1       325.      Plaintiff’s and the Massachusetts Subclass’ geolocation and other data has tangible

 2   value. As a direct and proximate result of Defendants’ unfair, unconscionable, and deceptive acts

 3   and practices, Plaintiffs and Massachusetts Subclass members have suffered and will continue to

 4   suffer injury, including, but not limited to: loss of privacy; damage to and diminution of the value

 5   of their personal information; the likelihood of future misuse of their data; and economic harm

 6   stemming from the exploitation of their data.

 7                                   COUNT EIGHTEEN
                               MASSACHUSETTS WIRETAP ACT
 8                             MASS. GEN. STAT. 272 §§ 99, et seq.
 9                      (ON BEHALF OF THE MASSACHUSETTS SUBCLASS)

10       326.      The Massachusetts Plaintiff identified above (“Plaintiff,” for purposes of this
11   Count), individually and on behalf of the Massachusetts Subclass, repeats and realleges
12   Paragraphs 1-82, as if fully alleged herein.
13       327.      The Massachusetts Wiretap Act (“MWA”), Mass. Gen. Stat. 272 § 99, in relevant
14   part, makes it unlawful for any person to “willfully commit[] an interception, attempt[] to commit
15   an interception, or procure[] any other person to commit an interception or to attempt to commit
16   an interception of any wire or oral communication.” Mass. Gen. Stat. 272 § 99(C)(1).
17       328.      The MWA also makes it unlawful to “willfully disclose[] or attempt[] to disclose”
18   or “willfully use[] or attempt[] to use” the “contents of any wire or oral communication, knowing

19   that the information was obtained through interception.” Mass. Gen. Stat. 272 § 99(C)(3)(a), (b).

20       329.      Defendants are each a “person” as defined by the MWA, which includes “any

21   individual, partnership, association, joint stock company, trust, or corporation.” Mass. Gen. Stat.

22   272 § 99(B)(13).

23       330.      The MWA defines “wire communication” as “any communication made in whole

24   or in part through the use of facilities for the transmission of communications by the aid of wire,

25   cable, or other like connection between the point of origin and the point of reception.” Mass.

26   Gen. Stat. 272 § 99(B)(1).

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 1       331.      The MWA defines “contents” as any information concerning the existence,

 2   contents, substance, purport, meaning, or identity of parties to a communication. Mass. Gen. Stat.

 3   272 § 99(B)(5).

 4       332.      The MWA defines “interception” as “to secretly hear, secretly record, or aid

 5   another to secretly hear or secretly record the contents of any wire or oral communication through

 6   the use of any intercepting device by any person other than a person given prior authority by all

 7   parties to such communication[.]” Mass. Gen. Stat. 272 § 99(B)(4).

 8       333.      The MWA defines “intercepting device” as “any device or apparatus which is
 9   capable of transmitting, receiving, amplifying, or recording a wire or oral communication.”
10   Mass. Gen. Stat. 272 § 99(B)(3).
11       334.      The data and transmissions within, to, and from Plaintiff’S and Massachusetts
12   Subclass members’ phones constitute “wire communications,” under the MWA as they are
13   communications “made in whole or in part through the use of facilities for the transmission of
14   communications by the aid of wire, cable, or other like connection.” Mass. Gen. Stat. 272 §
15   99(B)(1).
16       335.      As alleged herein, Amazon has intercepted, in real time and as they were
17   transmitted, the contents of electronic communications, and have diverted those communications
18   to itself without consent.

19       336.      As detailed herein, the electronic communications detailed above that Amazon has

20   intercepted are tied to individuals and not anonymized.

21       337.      Amazon intercepted these data transmissions by diverting them, during flight to

22   their own servicers, unbeknownst to Plaintiff and Massachusetts Subclass members.

23       338.      In violation of the MWA, Amazon intercepted the communications by diverting

24   them, during flight, to their own servers, unbeknownst to drivers.

25       339.      Plaintiff and Massachusetts Class members have a reasonable expectation of

26   privacy within their home, in their doctor’s office, and at various points throughout their day,

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 1   and Plaintiff and Class members reasonably expected privacy in these locations. Further, there

 2   is a reasonable expectation that the interactions between a consumer and their phone are private.

 3       340.       Common understanding and human experience of how phones function create a

 4   reasonable expectation that Amazon would not surreptitiously intercept and divert the detailed

 5   and personal electronic communications described above.

 6       341.       In further violation of the MWA, Amazon has used or attempted to use the contents

 7   of the communications described above while knowing that the information was obtained

 8   through interception in violation of the MWA. Mass. Gen. Stat. 272 § 99(Q); see Pine v. Rust,
 9   404 Mass. 411, 413–414, 535 N.E.2d 1247 (1989).
10       342.       Specifically, Defendants have used the information derived from the
11   communications described above to create products they market, license, and sell, including
12   targeted advertising and other marketing services including pricing optimization and strategic
13   product recommendations using Plaintiff’s and the Florida Subclass members’ data.
14       343.       Plaintiff and Massachusetts Subclass members have suffered harm and injury as a
15   direct and proximate result of Defendants’ interception and/or use of their private and personal
16   information.
17       344.       The MWA grants a civil remedy to aggrieved persons. § 99(Q).
18       345.       Plaintiff and Massachusetts Subclass members are each an “aggrieved person”

19   within the meaning of the MWA as they are each “a party to an intercepted wire or oral

20   communication . . . who would otherwise have standing to complain that [their] personal or

21   property interest or privacy was invaded in the course of an interception.” Mass. Gen. Stat. 272

22   § 99(B)(6).

23       346.       Plaintiffs and Massachusetts Subclass members seek all monetary and non-

24   monetary relief allowed by law, including actual damages, liquidated damages, punitive

25   damages, reasonable attorney’s fees and costs.

26

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                                      COUNT NINETEEN
 1                          MICHIGAN CONSUMER PROTECTION ACT
 2                           MICH. COMP. LAWS ANN. §§ 445.901, et seq.
                            (ON BEHALF OF THE MICHIGAN SUBCLASS)
 3
         347.       The Michigan Plaintiff identified above (“Plaintiff,” for purposes of this Count),
 4
     individually and on behalf of the Massachusetts Subclass, repeats and realleges Paragraphs 1-82,
 5
     as if fully alleged herein.
 6
         348.       Amazon and Plaintiff are each “person[s]” as defined by Mich. Comp. Laws Ann.
 7
     § 445.902(1)(d).
 8
 9       349.       Amazon engaged in “trade or commerce” as defined by Mich. Comp. Laws Ann.

10   § 445.902(1)(g).

11       350.       Amazon engaged in trade or commerce in Michigan and/or directly or indirectly

12   affecting the people of Michigan.

13       351.       Amazon engaged in unfair, unconscionable, and deceptive practices in the conduct

14   of trade and commerce, in violation of Mich. Comp. Laws Ann. § 445.903(1), including under

15   the following provisions:

16      a. Failing to reveal a material fact, the omission of which tends to mislead or deceive the

17         consumer, and which fact could not reasonably be known by the consumer. Mich. Comp.

18         Laws Ann. § 445.903(1)(s);

        b. Failing to reveal facts that were material to a transaction in light of representations of fact
19
           made in a positive manner. Mich. Comp. Laws Ann. § 445.903(1)(cc).
20
         352.       Amazon’s unfair, unconscionable, and deceptive practices included the following
21
     conduct:
22
        a. Material omissions and/or misrepresentations related to the characteristics of goods or
23
           services;
24
        b. Material omissions and/or misrepresentations as to the standard, quality, or grade of goods
25
           or services;
26

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 1      c. Engaging in other conduct that creates a likelihood of confusion or misunderstanding; and

 2      d. Failing to comply with common law and/or statutory duties pertaining to the privacy of

 3         Plaintiff’s and Massachusetts Subclass members’ data.

 4       353.      Amazon acted intentionally, knowingly, and maliciously to violate the Act, and

 5   recklessly disregarded Plaintiff’s and Michigan Subclass members’ rights, because Amazon

 6   intentionally intercepted, collected, used, and monetized Plaintiff’s and Michigan Subclass

 7   members’ data without obtaining their consent.

 8       354.      The fact that Amazon intercepted, collected, used, and monetized Plaintiffs’ and
 9   Michigan Subclass members’ data was material to Plaintiffs and Michigan Subclass members.
10   This is a fact that reasonable consumers would consider important when choosing to purchase or
11   download an application.
12       355.      Plaintiff and Michigan Subclass members were deceived and/or could reasonably
13   be expected to be deceived by Amazon’s material misrepresentations and omissions regarding
14   the functionality of their Ads SDK and the security and privacy of their data to their detriment.
15       356.      The material facts Amazon misrepresented and/or failed to disclose to Plaintiff and
16   Michigan Subclass members could not reasonably be known by reasonable consumers.
17       357.      Amazon’s unfair, unconscionable, and deceptive practices in the conduct of trade
18   and commerce included entering into a consumer transaction in which the consumer waives or

19   purports to waive a right, benefit, or immunity provided by law, where the waiver was not clearly

20   stated and the consumer did not specifically consent to it. Mich. Comp. Laws Ann. §

21   445.903(1)(t).

22       358.      Plaintiff’s and the Michigan Subclass’ data has tangible value. As a direct and

23   proximate result of Defendants’ unfair, unconscionable, and deceptive acts and practices,

24   Plaintiff and Michigan Subclass members have suffered and will continue to suffer injury,

25   including, but not limited to: loss of privacy; damage to and diminution of the value of their

26

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 1   personal information; the likelihood of future misuse of their data; and economic harm stemming

 2   from the exploitation of their data.

 3       359.      Plaintiff’s and the Michigan Subclass’ data was exploited without informed

 4   consent. Accordingly, Plaintiff and the Michigan Subclass are entitled to part of Amazon’s

 5   profits that were generated by their data without informed consent

 6       360.      Plaintiff and the Michigan Subclass seek all monetary and non-monetary relief

 7   allowed by law, including the greater of actual damages or $250 per Plaintiff and Michigan

 8   Subclass member, disgorgement, injunctive relief, attorneys’ fees and costs, and any other relief
 9   that is just and proper.
10                                        COUNT TWENTY
                                NEW YORK GENERAL BUSINESS LAW
11                                 N.Y. GEN. BUS. LAW §§ 349, et seq.
12                            (ON BEHALF OF THE NEW YORK SUBCLASS)

13       361.      The New York Plaintiff identified above (“Plaintiff,” for purposes of this Count),
14   individually and on behalf of the New York Subclass, repeats and realleges Paragraphs 1-82, as
15   if fully alleged herein.
16       362.      Defendants engaged in deceptive acts or practices in the conduct of their business,
17   trade, and commerce, in violation of N.Y. Gen. Bus. Law § 349. Defendants engaged in deceptive
18   acts and practices by:

19      a. Intercepting, collecting, using, and selling Plaintiff’s and New York Subclass members’

20         data without obtaining their consent;

21      b. Omitting, suppressing, and concealing the material fact that Defendants were intercepting,

22         collecting, using, and monetizing Plaintiff’s and New York Subclass members’ data for

23         Defendants’ own financial and commercial benefit;

24      c. Omitting, suppressing, and concealing material facts regarding the functionality of

25         Defendants’ Ads SDK and associated applications with respect to the privacy of

26         consumers in their homes and at their doctor’s office; and

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 1      d. Failing to comply with common law and/or statutory duties pertaining to the privacy of

 2         Plaintiff’s and New York Subclass members’ data.

 3       363.      Defendants’ omissions and misrepresentations were material because they were

 4   likely to deceive reasonable consumers into believing that their data would not be exfiltrated or

 5   monetized without their knowledge or consent.

 6       364.      Defendants acted intentionally, knowingly, and maliciously to violate N.Y. Gen.

 7   Bus. Law § 349, or acted with reckless disregard for the rights of Plaintiff and New York Subclass

 8   members.
 9       365.      As a direct and proximate result of Defendants’ deceptive and unlawful acts and
10   practices, Plaintiff and New York Subclass members have suffered and will continue to suffer
11   injury, but not limited to: loss of privacy; damage to and diminution of the value of their personal
12   information; the likelihood of future misuse of their data; and economic harm stemming from
13   the exploitation of their data.
14       366.      Plaintiff and New York Subclass members have suffered injuries in fact and
15   ascertainable losses of money or property as a result of Defendants’ deceptive acts and practices.
16   Plaintiff’s and New York Subclass members’ data has tangible economic value, which was
17   wrongfully appropriated by Defendants for financial gain.
18       367.      The public interest and consumers at large were harmed by Defendants’ deceptive

19   and unlawful acts, which affected thousands of New York residents.

20       368.      Plaintiff and New York Subclass members seek all monetary and non-monetary

21   relief available under N.Y. Gen. Bus. Law § 349, including actual damages or statutory damages

22   of $50 (whichever is greater), treble damages, injunctive relief, attorneys’ fees, and costs.

23

24

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26

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                                        COUNT TWENTY ONE
 1                              NEW YORK GENERAL BUSINESS LAW
 2                        N.Y. GEN. BUS. LAW §§ 899-aa; 899-bb (SHIELD ACT)
                              (ON BEHALF OF THE NEW YORK SUBCLASS)
 3
         369.       The New York Plaintiff identified above (“Plaintiff,” for purposes of this Count),
 4
     individually and on behalf of the New York Subclass, repeats and realleges Paragraphs 1-82, as
 5
     if fully alleged herein.
 6
         370.       Defendants are businesses that own, license, or maintain computerized data that
 7
     includes private information as defined by N.Y. Gen. Bus. Law § 899-aa(1)(a). Accordingly,
 8
 9   Defendants are subject to the requirements of N.Y. Gen. Bus. Law §§ 899-aa(2) and (3).

10       371.       Plaintiff’s and Class members’ data includes private information covered by N.Y.

11   Gen. Bus. Law § 899-aa(1)(b), as it contains sensitive, identifiable information, including records

12   of their location.

13       372.       Defendants collected and maintained data from Plaintiff and New York Subclass

14   members without informing them of the scope of the data collection or obtaining their consent

15   for its subsequent use and sale to third parties.

16       373.       Defendants violated N.Y. Gen. Bus. Law §§ 899-aa(2) and (3) by failing to provide

17   timely, accurate, and sufficient notice to Plaintiff and New York Subclass members of the

18   unauthorized collection, use, and monetization of their data.

         374.       Defendants’ failure to adhere to the administrative and security requirements of the
19
     SHIELD Act (N.Y. Gen. Bus. Law § 899-bb(2)) further compromised the security and
20
     confidentiality of Plaintiff’s and New York Subclass members’ private information.
21
         375.       As a direct and proximate result of Defendants’ violations of N.Y. Gen. Bus. Law
22
     §§ 899-aa and 899-bb, Plaintiff and New York Subclass members suffered damages, including,
23
     but not limited to: loss of privacy; damage to and diminution of the value of their personal
24
     information; the likelihood of future misuse of their data; and economic harm stemming from
25
     the exploitation of their data.
26

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 1       376.      Plaintiff and New York Subclass members seek all remedies available under N.Y.

 2   Gen. Bus. Law § 899-aa(6)(b) and § 899-bb(2), including actual damages, injunctive relief, and

 3   any other relief deemed just and proper by the Court.

 4                               COUNT TWENTY TWO
                VIOLATION OF THE OHIO CONSUMER SALES PRACTICES ACT,
 5                          OHIO REV. CODE §§ 1345.01, et seq.
 6                        (ON BEHALF OF THE OHIO SUBCLASS)

 7       377.      The Ohio Plaintiff identified above (“Plaintiff,” for purposes of this Count)

 8   individually and on behalf of the Ohio Subclass, repeats and realleges Paragraphs 1-82, as if fully
 9   alleged herein.
10       378.      Plaintiff and Ohio Subclass members are “persons” as defined by Ohio Rev. Code
11   § 1345.01(B).
12       379.      Defendants are a “supplier” engaged in “consumer transactions,” as defined by
13   Ohio Rev. Code §§ 1345.01(A) and (C), by offering goods and services to consumers in Ohio.
14       380.      Defendants engaged in unfair and deceptive acts and practices in connection with
15   consumer transactions, in violation of Ohio Rev. Code §§ 1345.02 and 1345.03.
16                            COUNT TWENTY THREE
             UNFAIR TRADE PRACTICES AND CONSUMERP ROTECTION LAW
17                           73 PA. STAT. §§ 201-1, et seq.
18                  (ON BEHALF OF THE PENNSYLVANIA SUBCLASS)

19        381.     The Pennsylvania Plaintiff identified above (“Plaintiff,” for purposes of this

20   Count), individually and on behalf of the Connecticut Subclass, repeats and realleges Paragraphs

21   1-82, as if fully alleged herein.

22        382.     The Pennsylvania Unfair Trade Practices and Consumer Protection Law

23   (“Pennsylvania UTPCP”) makes unlawful unfair methods of competition and unfair or deceptive

24   acts or practices in the conduct of any trade or commerce. S.C. Code § 39-5-10(a).

25

26

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 1        383.      Defendants are each a “person” as defined by 73 Pa. Stat. § 201-2(2), which

 2   includes corporations, trusts, partnerships, incorporated or unincorporated associations and any

 3   other legal entity.

 4        384.      Defendants are each engage in “trade” or “commerce” as defined by 73 Pa. Stat. §

 5   201-2(3), which includes advertising, offering for sale, sale or distribution of any services and

 6   any property, tangible or intangible, real, personal or mixed, and any other article, commodity,

 7   or thing of value wherever situate, and includes any trade or commerce directly or indirectly

 8   affecting the people of Pennsylvania.
 9        385.      Amazon engaged in unfair trade practices by their material omissions to Plaintiffs
10   and Pennsylvania Subclass members that their movements would be tracked and their personal
11   information would be exfiltrated for Amazon’s financial benefit.
12        386.      These unfair statements, misrepresentations, omissions, and concealments
13   constitute violations of 73 Pa. Stat. § 201-2(4).
14        387.      By misrepresenting, omitting, and/or concealing crucial information regarding the
15   functionality of Amazon’s Ads SDK with respect to the privacy of mobile application users in
16   their homes, in their doctor’s office, and throughout their day, Amazon violated 73 Pa. Stat. §
17   201-2(4)(v), (vii) and (ix).
18        388.      Plaintiffs and Pennsylvania Subclass members were deceived and/or could

19   reasonably be expected to be deceived by Amazon’s material misrepresentations and omissions

20   regarding the functionality of their Ads SDK and thousands of associated mobile applications,

21   the security and privacy of user data, and their privacy to their detriment.

22        389.      As a direct and proximate result of Defendants’ unfair practices, Plaintiffs and

23   Pennsylvania Subclass members have suffered and will continue to suffer injury, losses, and

24   damages, including, but not limited to: loss of privacy; unauthorized dissemination of their

25   valuable data; damage to and diminution of the value of their personal information; and the

26   likelihood of future misuse of their data.

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 1        390.     In violating Plaintiffs’ and Pennsylvania Subclass members’ rights under the

 2   Pennsylvania UTPCP as described herein, Defendants acted intentionally, knowingly, and/or

 3   with reckless disregard of the rights of Plaintiffs and Pennsylvania Subclass members.

 4        391.     Plaintiffs and Pennsylvania Subclass members seek all monetary and non-

 5   monetary relief allowed by law, including equitable relief, actual damages or one hundred dollars

 6   ($100), whichever is greater, treble damages, punitive damages, and reasonable attorneys’ fees

 7   and costs.

 8                          COUNT TWENTY FOUR
         TEXAS DECEPTIVE TRADE PRACTICES-CONSUMER PROTECTION ACT,
 9                       TEX. BUS. & COM. CODE §§ 17.41
                      (ON BEHALF OF THE TEXAS SUBCLASS)
10
          392.     The Texas Plaintiff identified above (“Plaintiff,” for purposes of this Count),
11
     individually and on behalf of the Texas Subclass, repeats and realleges Paragraphs 1-82, as if
12
     fully alleged herein.
13
          393.     The Texas Trade Practices-Consumer Protection Act (“Texas TPCPA”) “shall be
14
     liberally construed and applied to promote its underlying purposes, which are to protect
15
     consumers against false, misleading, and deceptive business practices, unconscionable actions,
16
     and breaches of warranty and to provide efficient and economical procedures to secure such
17
     protection.” Tex. Bus. & Com. Code § 17.44(a).
18
          394.     Defendants are each a “person” as defined by 73 Pa. Stat. § 201-2(2), which
19
     includes partnership, corporation, association, or other group, however organized.
20
          395.     Defendants engage in “trade” or “commerce” as defined by Tex. Bus. & Com.
21
     Code § 17.45(6), which includes advertising, offering for sale, sale or distribution of any services
22
     and any property, tangible or intangible, real, personal or mixed, and any other article,
23
     commodity, or thing of value wherever situate, and includes any trade or commerce directly or
24
     indirectly affecting the people of Texas.
25
          396.     Defendants engaged in unfair and deceptive trade practices by representing to
26
     Plaintiff and Texas Subclass members, as well as third party applications, that their data would
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 1   be kept secure and that data would not be shared, when in fact Defendants regularly and covertly

 2   collected detailed consumer data.

 3         397.    These deceptive statements, misrepresentations, and omissions, and concealments

 4   constitute violations of Tex. Bus. & Com. Code § 17.46(b).

 5         398.    Defendants violated Tex. Bus. & Com. Code § 17.46(b)(5), (9), and (20) and (24)

 6   by:

 7      a. Omitting, suppressing, and concealing the material fact that Defendants were intercepting,

 8         collecting, using, and monetizing Plaintiff’s and Texas Subclass members’ data for
 9         Defendants’ own financial and commercial benefit
10      b. Omitting, suppressing, and concealing material facts regarding the functionality of
11         Defendants’ Ads SDK and associated applications with respect to the privacy of
12         consumers in their homes, at their doctor’s office, and throughout their days; and
13      c. Misrepresenting or omitting the purpose of Defendants’ Ads SDK and associated
14         applications and that it would protect the privacy of Plaintiff’s and the Texas Subclass
15         members’ data, including that it would not intercept, collect, use, or monetize such data
16         without consumers’ express consent.
17         399.    Plaintiff and Texas Subclass members were deceived and/or could reasonably be
18   expected to be deceived by Defendants’ material misrepresentations and omissions regarding the

19   functionality of Defendants’ Ads SDK and associated applications and to their detriment.

20         400.    Further, Defendants violated Tex. Bus. & Com. Code § 17.46(b)(2) and (3) by

21   causing likelihood of confusion or misunderstanding as to the source, sponsorship, approval,

22   certification, affiliation, connection, or association with Plaintiff’s and Texas Subclass members’

23   data, namely that the collection and sale of such data was not authorized or consented-to by them,

24   and therefore unlawfully obtained.

25

26

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 1        401.     In engaging in the above-described practices, Defendants acted intentionally and

 2   with flagrant disregard of prudent and fair business practices to the extent that Defendant should

 3   be treated as having acted intentionally. Tex. Bus. & Com. Code § 17.45(13).

 4        402.     Plaintiff and Texas Subclass members have been substantially injured by the

 5   practices described herein because their rights to privacy have been violated.

 6        403.     As a direct and proximate result of Defendants’ deceptive practices, Plaintiff and

 7   Texas Subclass members have suffered and will continue to suffer injury, losses, and damages,

 8   including but not limited to: loss of privacy; unauthorized dissemination of their valuable data;
 9   damage to and diminution of the value of their personal information; the likelihood of future
10   misuse of their data; and economic harm stemming from the exploitation of their data.
11        404.     Plaintiffs and Texas Subclass members seek all monetary and non-monetary relief
12   allowed by law, including equitable relief, actual damages, punitive damages, and reasonable
13   attorneys’ fees and costs.
14                                    COUNT TWENTY FIVE
                             VIRGINIA CONSUMER PROTECTION ACT
15                               VA. CODE ANN. §§ 59.1-196, et seq.
16                           (ON BEHALF OF THE VIRGINIA SUBCLASS)

17        405.     The Virginia Plaintiff identified above (“Plaintiff,” for purposes of this Count),

18   individually and on behalf of the Virginia Subclass, repeats and realleges Paragraphs 1-82, as if

     fully alleged herein.
19
          406.     The Virginia Consumer Protection Act prohibits “[u]sing any . . . deception, fraud,
20
     false pretense, false promise, or misrepresentation in connection with a consumer transaction.”
21
     Va. Code Ann. § 59.1-200(14).
22
          407.     Amazon is a “person” as defined by Va. Code Ann. § 59.1-198
23
          408.     Amazon is a “supplier,” as defined by Va. Code Ann. § 59.1-198.
24
          409.     Amazon engaged in the complained-of conduct in connection with “consumer
25
     transactions” with regard to “goods” and “services,” as defined by Va. Code Ann. § 59.1-198.
26

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 1        410.     Amazon engaged in unfair or deceptive acts or practices, misrepresentations, and

 2   the concealment, suppression, and omission of material facts with respect to the sale and

 3   advertisement of the goods and services purchased by Plaintiff and the Virginia Subclass

 4   members in violation of the Virginia Consumer Protection Act, including Va. Code Ann. §§ 59.1-

 5   200(5), (6), (8), and (14), including by:

 6      a. Intercepting, collecting, using, and monetizing Plaintiffs’ and Virginia Subclass members’

 7         data without obtaining their consent;

 8      b. Omitting, suppressing, and concealing the material fact that Amazon was intercepting,
 9         collecting, using, and monetizing Plaintiff’s and Virginia Subclass members’ data
10         Amazon’s own financial and commercial benefit;
11      c. Omitting, suppressing, and concealing material facts regarding the functionality of
12         Defendants’ Ads SDK with respect to the privacy of consumers in their own homes;
13      d. Misrepresenting the purpose of the Ads SDK and that Amazon protects the privacy of
14         Plaintiff’s and the Virginia Subclass members’ data, including that it would not intercept,
15         collect, use or monetize such data without consumers’ express consent; and
16      e. Failing to comply with common law and/or statutory duties pertaining to the privacy of
17         Plaintiff’s and Virginia Subclass members’ data.
18        411.     Amazon acted intentionally, knowingly, and maliciously to violate the Act, and

19   recklessly disregarded Plaintiff’s and Virginia Subclass members’ rights, because Amazon

20   intentionally intercepted, collected, used, and monetized Plaintiff’s and Virginia Subclass

21   members’ data without obtaining their consent.

22        412.     The fact that Amazon intercepted, collected, used, and monetized Plaintiff’s and

23   Virginia Subclass members’ data was material to Plaintiff’s and Virginia Subclass members.

24   This is a fact that reasonable consumers would consider important when choosing to purchase or

25   download an application.

26

     CLASS ACTION COMPLAINT                           70           Cotchett, Pitre & McCarthy, LLP
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 1        413.      Plaintiff and Virginia Subclass members were deceived and/or could reasonably

 2   be expected to be deceived by Amazon’s material misrepresentations and omissions regarding

 3   the functionality of Defendants’ Ads SDK and associated mobile applications and the security

 4   and privacy of their data to their detriment.

 5        414.      Amazon intended to mislead Plaintiff and Virginia Subclass members and induce

 6   them to rely on their misrepresentations and omissions.

 7        415.      Amazon benefited from misleading Plaintiff and Virginia Subclass members as it

 8   obtained a profit from the collection of data.
 9        416.      The foregoing unlawful and deceptive acts and practices were immoral, unethical,
10   oppressive, and unscrupulous.
11        417.      Amazon’s unfair or deceptive acts directly and proximately caused Plaintiff and
12   Virginia Subclass members to suffer damages including, but not limited to: loss of privacy;
13   damage to and diminution of the value of their personal information; the likelihood of future
14   misuse of their data; and economic harm stemming from the exploitation of their data.
15        418.      Plaintiff and Virginia Subclass members seek all monetary and non-monetary
16   relief allowed by law, including actual damages, statutory damages in the amount of $1,000 per
17   violation if the conduct is found to be willful (or in the alternative, $500 per violation), restitution,
18   injunctive relief, punitive damages, and attorneys’ fees and costs.

19                                         PRAYER FOR RELIEF

20           WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,
21   respectfully requests that the Court:
22           A.     Certify this case as a class action, and appoint Plaintiffs as Class Representatives
23   and the undersigned attorneys as Class Counsel;
24           B.     Enter judgment in favor of Plaintiffs and the Class;
25

26

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 1             C.   Enter injunctive and/or declaratory relief as is necessary to protect the interests of

 2   Plaintiffs and Class members, including reformation of practices to prevent Amazon from

 3   continuing to covertly exfiltrate user location and other data;

 4             D.   Award all actual, general, special, incidental, statutory, treble, punitive, liquidated,

 5   and consequential damages to which Plaintiffs and Class members are entitled;

 6             E.   Award disgorgement of ill-gotten monies, data, and consequently informed or

 7   trained algorithms obtained through and as a result of the wrongful conduct alleged herein;

 8             F.   Award Plaintiffs and Class members pre- and post-judgement interest as provided
 9   by law;
10             G.   Enter such other orders as may be necessary to restore to Plaintiffs and Class
11   members any money and property acquired by Amazon through its wrongful conduct;
12             H.   Award Plaintiff and Class members reasonable litigation expenses and attorneys’
13   fees as permitted by law; and
14             I.   Award such other and further relief as the Court deems necessary and appropriate.
15                                            JURY DEMAND

16         Plaintiffs demand a trial by jury of all issues triable as of right.
17   DATED this 7th day of February 2025.
18

19                                                  By:        /s Thomas E. Loeser
                                                               Thomas E. Loeser, WSBA # 38701
20                                                  By:        /s/ Karin Swope
                                                               Karin B. Swope , WSBA # 24015
21                                                  By:        /s/ Jacob M. Alhadeff
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